Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 1 of 71 PageID #: 1223
                                                                       FILED
                                                                       CLERK
                                                             3:04 pm, Jul 19, 2024
 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                    U.S. DISTRICT COURT
                                                            EASTERN DISTRICT OF NEW YORK
 --------------------------------X
                                                                 LONG ISLAND OFFICE
 UNITED STATES OF AMERICA,

                                                 MEMORANDUM & ORDER
       -against-                                 23-CR-0197 (JS)(AYS)

 GEORGE ANTHONY DEVOLDER SANTOS,

                 Defendant.
 --------------------------------X
 APPEARANCES
 For Government:     Jacob Steiner, Esq.
                     Jolee Porter, Esq.
                     John Taddei, Esq.
                     Department of Justice - Criminal
                     1301 New York Avenue N.W., 10th Floor
                     Washington, District of Columbia 20530

                         Ryan C. Harris, Esq.
                         Anthony Bagnuola, Esq.
                         Laura Amber Zuckerwise, Esq.
                         United States Attorney’s Office,
                         Eastern District of New York
                         271 Cadman Plaza East
                         Brooklyn, New York 11201

 For Defendant:          Joseph W. Murray, Esq.
                         Joseph W. Murray
                         185 Great Neck Road, Suite 461
                         Great Neck, New York 11021

                         Andrew Leopoldo Mancilla, Esq.
                         Robert Mario Fantone, Jr., Esq.
                         Mancilla & Fantone, LLP
                         260 Madison Avenue, 22nd Floor
                         New York, New York 10016

 SEYBERT, District Judge:

             Presently before the Court is the Omnibus Motion (ECF

 No. 71) of George Anthony Devolder Santos (hereafter, “Defendant”

 or “Santos”) seeking: (1) dismissal of the aggravated identity
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 2 of 71 PageID #: 1224



 theft charges (Counts Six and Ten) of the Second Superseding

 Indictment (hereafter, the “S-2 Indictment”) pursuant to Federal

 Rule    of    Criminal     Procedure      (hereafter,       “Rule”)    12(b)(3)(v);

 (2) dismissal of Counts Six and Ten of the S-2 Indictment because

 18 U.S.C. § 1028A is either unconstitutionally vague on its face,

 or,    alternatively,      unconstitutionally        vague      as-applied    to   his

 case; (3) dismissal of Count Ten of the S-2 Indictment on grounds

 of multiplicity; (4) dismissal of the theft of public money charge

 (Count Nineteen) of the S-2 Indictment on grounds of duplicity;

 (5) an order compelling the Government to provide a bill of

 particulars pursuant to Rule 7(f); (6) an order compelling the

 Government     to     provide   alleged      Brady/Giglio       material;    (7)   the

 striking of allegedly prejudicial and irrelevant surplusage from

 the S-2 Indictment pursuant to Rule 7(d); (8) an order compelling

 the Government to preserve the rough notes and other evidence taken

 by    law    enforcement    agents     during      their    interviews      with   all

 witnesses;      and    (9) permission        for   the     defense    to   supplement

 Defendant’s      various    motions     to     dismiss     if   the   circumstances

 require.      (See Omnibus Motion, in toto.)                For the reasons that

 follow, Defendant’s Omnibus Motion is DENIED IN ITS ENTIRETY.




                                            2
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 3 of 71 PageID #: 1225



                                  BACKGROUND 1

 I.    Relevant Individuals and Entities

          A. The Defendant

             Defendant    “was    a   resident   of    Queens     and    Suffolk

 Counties”,    who,   “[d]uring   the   2020 and      2022 election      cycles”

 successfully “campaigned as a candidate for the United States House

 of Representatives” (hereafter, the “House”).              (S-2 Indictment

 ¶ 1, ECF No. 79.)     “On or about November 8, 2022, [Defendant] was

 elected the United States Representative for New York’s Third

 Congressional District, which covered parts of Queens and Nassau

 Counties in the Eastern District of New York.”            (Id.)        Defendant

 “was sworn into office on or about January 7, 2023.”              (Id.)

          B. The Committee

             At some point, Devolder-Santos for Congress (hereafter,

 the    “Committee”)     was     created.    This     committee     “was     the

 [D]efendant[’s] . . . principal             congressional              campaign

 committee.”     (Id. ¶ 2.)      “Nancy Marks was the treasurer of the

 Committee.”     (Id. ¶ 3.)      “Marks provided additional services to

 the Committee through a political consulting company that she

 operated and which was located in Suffolk County, New York.”              (Id.)


 1 The facts set forth herein are taken from the S-2 Indictment;
 the Court must assume the S-2 Indictment’s allegations are true
 for purposes of Defendant’s Omnibus Motion. See United States v.
 Raniere, 384 F. Supp. 3d 282, 292 n.1 (E.D.N.Y. 2019) (citing
 United States v. Wey, No. 15-CR-0611, 2017 WL 237651, at *5
 (S.D.N.Y. Jan. 18, 2017)).
                                        3
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 4 of 71 PageID #: 1226



          C. National Party Committee #1

             “National Party Committee #1 . . . was a national party

 committee    headquartered         in    Washington          D.C.”    which         “managed   a

 program”    (hereafter,       the       “Program”)          “pursuant         to    which   [it]

 provided    financial        and    logistical          support          for       [qualifying]

 congressional candidates.”               (Id. ¶ 4.)           “The Program had three

 phases, each with its own qualifying criteria.”                                    (Id.)    For

 example,    “to    qualify     for       the       second    phase       of    the     Program,

 congressional candidates were required, among other things, to

 demonstrate that their campaign committee had raised at least

 $250,000 from third-party contributors in a single quarter.” (Id.)

          D. Company #1

             Company #1 was “a Florida LLC formed on or about November

 1, 2021, with its principal place of business in Merritt Island,

 Florida.”    (Id. ¶ 6.)

          E. The Devolder Organization LLC

             The Devolder Organization LLC (hereafter, the “Devolder

 Organization”)         “was          a         Florida             Limited           Liability

 Company . . . formed on or about May 11, 2021, with its principal

 place of business in Melbourne, Florida.”                       (Id. ¶ 5.)            Defendant

 “was the sole beneficial owner of the Devolder Organization”.

 (Id.)      The    Devolder    Organization           was     one    of    two       “authorized

 managers” of Company #1.            (Id. ¶ 6.)



                                                4
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 5 of 71 PageID #: 1227



          F. Person #1

             Person   #1     “was   a    political    consultant      operating    in

 Queens County and surrounding areas, including areas within the

 Eastern District of New York.”                (Id. ¶ 7.)       “In or about and

 between September 2022 and October 2022, at the direction of

 [D]efendant . . . Person #1 acted on behalf of Company #1.”                   (Id.)

          G. Investment Firm #1

             “Investment Firm #1 . . . was a Nevada corporation with

 its principal place of business in Melbourne, Florida.”                  (Id. ¶ 8.)

 “Investment Firm #1 was purportedly engaged in retail sales of

 securities products.”           (Id.)     “In or about and between January

 2020 and March 31, 2021, the [D]efendant . . . was employed by

 Investment Firm #1 as a Regional Director.”                (Id.)   In his capacity

 as Regional Director, Defendant “received an annual salary of

 approximately $120,000, which was deposited into a personal bank

 account maintained by” Defendant (hereafter, “Santos Bank Account

 #1”) “in regular intervals beginning on or about February 3, 2020,

 and continuing through on or about April 15, 2021.”                  (Id.)

II.    The Alleged Campaign-Related Fraudulent Schemes

             According to the S-2 Indictment, “[d]uring the 2022

 election cycle,” Defendant “devised and executed at least three

 fraudulent    schemes     to    obtain    money     for    himself   and    for   the

 Committee    by    making      various    material        misrepresentations      and

 omissions    to,   among       others,”   the     Federal     Election     Committee

                                           5
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 6 of 71 PageID #: 1228



 (hereafter, the “FEC”), “National Party Committee #1, potential

 contributors to the Committee[,] and the public.”                      (Id. ¶ 15.)

             “First,   in   or    about        and    between      December   2021    and

 November    2022”   Defendant,      together          with    Marks,    “devised     and

 executed a scheme to submit materially false reports to the FEC on

 behalf of the Committee in which they fraudulently inflated the

 Committee’s fundraising numbers for the purpose of misleading the

 FEC, National Party Committee #1 and the public.”                        (Id. ¶ 16.)

 Defendant’s      purpose   for    doing       so     was     to   “qualify . . . for

 different phases of the Program and thereby receive financial and

 logistical support from National Party Committee #1” (hereafter,

 the “Party Program Scheme”).        (Id.)           “As part of the Party Program

 Scheme,” Defendant, together with Marks, “agreed to falsely report

 to the FEC that family members of [Defendant] and Marks” had

 contributed significant sums “to the Committee” when, actually,

 both Defendant and Marks knew “these individuals had not made the

 reported contributions.”         (Id.)    Additionally, Defendant and Marks

 “agreed to falsely report to the FEC that [Defendant] had loaned

 the Committee significant sums of money, when”, in fact, Defendant

 neither “made the reported loans” nor had the funds necessary to

 do so.   (Id.)

             Second, the S-2 Indictment alleges, “in or about and

 between December 2021 and August 2022” Defendant “devised and

 executed a fraudulent scheme whereby he stole personal identity

                                           6
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 7 of 71 PageID #: 1229



 and financial information of individuals who had contributed to

 the Committee and used it to cause these individuals’ credit cards

 to be charged repeatedly without authorization” (hereafter, the

 “Credit    Card       Fraud    Scheme”).        (Id.     ¶ 17.)        “Through      these

 unauthorized transactions, [Defendant], transferred funds to the

 Committee,       to   the     campaigns    of    other     candidates        for   elected

 office[,] and to his personal bank account.”                       (Id.)     Further, to

 conceal the true source of these funds and to circumvent campaign

 contribution       limits,      Defendant       “falsely    represented        that   the

 political contributions were made by other individuals” including

 Defendant’s “relatives and associates.”                  (Id.)

             Finally, “in or about and between September and October

 2022” Defendant “devised and executed a scheme to defraud and to

 obtain money from supporters of his candidacy for the House by

 fraudulently inducing them to contribute funds to Company #1 under

 the false pretense that the money would be used to support [his]

 candidacy.”       (Id. ¶ 18.)      Actually, Defendant “spent thousands of

 dollars of the solicited funds on personal expenses, including

 luxury designer clothing and credit card payments” (hereafter, the

 “Company    #1    Fraud       Scheme”).     (Id.)        Additionally,        Defendant,

 “personally       and       through     Person      #1[,]     communicated           false

 information about Company #1 to those supporters.”                           (Id.)    This

 false   information         included:     “that     Company       #1   was    a    Section

 501(c)(4)     social          welfare     organization        or       an    independent

                                             7
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 8 of 71 PageID #: 1230



 expenditure-only committee” and, consequently, “that contributions

 made to [it] would be used on independent expenditures in support

 of [Defendant’s] candidacy during the 2022 election cycle.”                 (Id.)

 Notwithstanding these representations, “Company #1 was neither a

 Section 501(c)(4) social welfare organization nor an independent

 expenditure-only committee, and upon receipt of contributions by

 those supporters to Company #1, [Defendant] converted much of those

 funds to his own personal benefit.”           (Id.)

             The   Court     expounds    upon    the         alleged   allegations

 particular to each Campaign-Related Fraudulent Scheme below.

          A. The Party Program Scheme

             The   S-2     Indictment       alleges,     “[t]hroughout      2021,”

 Defendant, together with Marks, “sought for the Committee to report

 fundraising    totals   sufficient     to    meet     the    $250,000   threshold

 necessary to qualify for the second phase of the Program.”                   (Id.

 ¶ 19.)    The Committee failed to qualify for the Program for the

 third quarter of 2021, due, in part, to its failure to meet this

 contributions criterion.       (Id. ¶ 20.)

             “On or about October 12, 2021,” Defendant “sent a text

 message to agents of the Committee, including . . . Marks, asking

 an agent to ‘check in with’ an employee of National Party Committee

 #1 to determine why the Committee failed to qualify for the

 Program.”     (Id. ¶ 21.)    Responding to Defendant, an agent of the

 Committee stated, “‘the only driver that matters is raising $250K

                                        8
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 9 of 71 PageID #: 1231



 (not loans or candidate contributions) in a single quarter,’ and

 ‘[i]t’s really that simple though . . . $250k raised from donors

 within a quarter.      We haven’t done that yet and that should be our

 focus.’”     (Id. ¶ 21.)     Defendant replied, “[w]e are going to do

 this a little different.       I got it.”    (Id.)

                  1. Fraudulent Year-End Report

             “In or about and between December 2021 and January 2022,”

 Defendant, together with Marks, “conspired and agreed to falsely

 inflate the Committee’s fundraising totals, including, but not

 limited to, in public filings with the FEC, in order to mislead

 the FEC, National Party Committee #1[,] and the public.”                  (Id.

 ¶ 22.)     In furtherance of the Party Program Scheme, “on or about

 December 18, 2021,” Defendant texted Marks the names of family

 members of his and Marks, together “with purported contribution

 amounts for each corresponding family member, for Marks to enter

 into the Year-End 2021 Report to the FEC.”           (Id. ¶¶ 23-24.)     These

 contributions    had   the   effect of    “ensuring    that the    Committee

 appeared to reach the $250,000 threshold necessary to qualify for

 the second phase of the Program.”           (Id. ¶ 23.)     Notwithstanding

 these representations, neither Defendant’s family members, nor

 Marks’ family members ever made their listed contribution.               (Id.)

             On   December    21,    2021,    after     Marks   “texted     the

 Defendant”, Santos supplemented his text message to Marks relaying

 the names of family members and purported contribution amounts

                                       9
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 10 of 71 PageID #: 1232



 with    “addresses      and   occupations       for   his   relatives”,       which

 information, the S-2 Indictment alleges, Defendant “knew would be

 required for the Year-End 2021 Report to the FEC.”                   (Id. ¶ 25.)

 On the “same day, Marks emailed herself the content of [Santos’]

 text message.”      (Id.)

             According to the S-2 Indictment, “[i]n or about January

 2022,” Defendant “repeatedly texted . . . Marks about ensuring

 that the Committee reached the $250,000 threshold necessary to

 qualify    for    the   second   phase    of    the   Program.”      (Id.    ¶ 26.)

 Defendant “advised Marks that he ‘really would like to know the

 final numbers for the quarter.’”              (Id.)   “On or about January 31,

 2022, the Committee submitted the Year-End 2021 Report to the FEC”;

 in so doing, Marks certified she “examined [the] Report and to the

 best of [her] knowledge and belief it [was] true, correct and

 complete.”       (Id. ¶ 27.)     As per the Year-End 2021 Report to the

 FEC, the following contribution amounts were allegedly falsely

 reported:

        Contributor #             Amount Reported                    Date
              1                       $5,800                       12/31/21
              2                       $2,900                       12/31/21
              3                       $5,800                       12/31/21
              4                       $2,900                       12/31/21
              5                       $5,800                       12/16/21
              6                       $5,800                       11/15/21
              7                       $5,800                       12/31/21
              8                       $5,800                       12/31/21
              9                       $5,800                        11/3/21
             10                       $3,900                        10/9/21



                                          10
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 11 of 71 PageID #: 1233



 (Id.)      These      purportedly     false      contributions,     which       totaled

 $53,200, caused “the Committee to falsely claim total quarterly

 receipts of $251,549.68.”           (Id. ¶ 28.)

             “Following the submission of the fraudulent Year-End

 2021 Report to the FEC, on or about February 10, 2022,” Defendant

 “signed    an   application     for      the    Program   and    caused    it    to   be

 submitted to National Party Committee #1.”                 (Id. ¶ 29.)          “Based,

 in part, on its belief that the Committee had exceeded the $250,000

 quarterly fundraising benchmark as reported in the Year-End 2021

 Report    to    the     FEC,   National        Party   Committee     #1    announced

 [Defendant] as a candidate in the second phase of the Program on

 or about February 25, 2022.”             (Id. ¶ 31.)

                    2. The April 2022 Quarterly Report

             Next, the S-2 Indictment alleges, “[i]n or about and

 between March and April 2022,” Defendant, together with Marks,

 “continued      their    efforts    to    falsely      inflate    the     Committee’s

 fundraising     totals,    including,          but   not limited    to, in       public

 filings with the FEC, in order to mislead the FEC, National Party

 Committee #1, and the public” so Defendant “would qualify for all

 phases of the Program” and, in so doing “receive financial and

 logistical support from National Party Committee #1.”                     (Id. ¶ 32.)

 To that end, Defendant and Marks allegedly “agreed to falsely

 represent in presentations and communications with National Party

 Committee #1 and in a quarterly submission to the FEC” that

                                           11
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 12 of 71 PageID #: 1234



 Defendant “had loaned the Committee $500,000” when he had not.

 (Id.)

              In March, Defendant continued to express his concern to

 associates       about     “the    importance    of     the   Committee    reporting

 substantial fundraising totals for the purpose of ensuring he

 qualified for the Program and would receive the expected financial

 support     from    National       Party   Committee     #1.”     (Id.    ¶¶ 33-34.)

 Subsequently, “[o]n or about March 21, 2022,” Defendant “caused

 agents of the Committee to deliver a ‘Path to Victory’ presentation

 to   National      Party    Committee #1,       which    falsely represented         to

 National Party Committee #1 staff members” that Defendant “was

 loaning the Committee $500,000 during the first quarter of 2022.”

 (Id. ¶ 35.) Defendant represented to agents of the Committee “that

 he   was,   in     fact,    making   the   purported      $500,000   loan      to   the

 Committee.”        (Id. ¶ 36.)        Notwithstanding his representations,

 Defendant “did not have the funds to cover such a loan” and, in

 fact, “had less than $8,000 in his personal and business bank

 accounts.”       (Id.)

              “On    or     about   April 13,    2022,     the Committee        further

 publicized inaccurate fundraising totals for the Committee for the

 first quarter of 2022, relying on the false representation by”

 Defendant “that he had loaned the Committee $500,000.”                   (Id. ¶ 37.)

 Indeed, “the Committee issued a press release in which it stated

 that    [it]     would     ‘report    roughly    $800,000       raised    in   Q1,    a

                                            12
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 13 of 71 PageID #: 1235



 significant sum in what is likely to be one of the most expensive

 races in the Country.’”        (Id.)    The Committee’s statement of its

 fundraising     totals   “included     the   non-existent    $500,000    loan

 purportedly made by” Defendant.         (Id.)

             “On or about April 15, 2022, the Committee submitted the

 April 2022 Quarterly Report to the FEC”; in so doing, Marks

 certified she had “examined th[e] Report and to the best of [her]

 knowledge and belief it [was] true, correct and complete.”               (Id.

 ¶ 38.) The April 2022 Quarterly Report is alleged to have “falsely

 reported that [Defendant] had loaned the Committee $500,000 on

 March 31, 2022.”      (Id.)   The S-2 Indictment alleges Defendant and

 Marks included the allegedly false contribution in this Report

 “for the purpose of making the Committee appear more financially

 sound than it was, knowing that the FEC, National Party Committee

 #1 and the public would rely on the truth and accuracy of these

 reports.”    (Id.)

                   3. National Party #1 Provides Financial Support to
                      the Committee

             The    S-2   Indictment     alleges,    based   in   part    upon

 Defendant’s and Marks’ misrepresentations as to “the financial

 position of the Committee in its reports to the FEC, presentations

 to National Party Committee #1 and public statements, National

 Party Committee #1 announced” Defendant “had qualified for the

 third and final phase of the Program on or about June 14, 2022.”


                                        13
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 14 of 71 PageID #: 1236



 (Id. ¶ 39.)         Thereafter, National Party Committee #1 “provided

 financial and logistical support to the Committee.”                    (Id. ¶ 40.)

 Additionally, Defendant’s qualification for the third and final

 phase   of    the    Program   entitled        him   “to   participate      in    joint

 fundraising      committees     with   other         qualified    members    of    the

 Program.”      (Id. ¶ 42.)

           B. The Credit Card Fraud Scheme

               As to the Credit Card Fraud Scheme, the S-2 Indictment

 alleges Defendant “obtained the personal identity and financial

 information of individuals who had contributed to the Committee

 and then caused their access devices to be charged repeatedly

 without      authorization     for   [Defendant’s]          direct    and   indirect

 benefit, oftentimes concealing the true source of the funds by

 misappropriating       the     personal        identity    information      of”    his

 “relatives and associates” without authorization.                    (Id. ¶ 43.)

               The S-2 Indictment elaborates, “on or about December 14,

 2021, Contributor #12” texted Defendant “and another agent of the

 Committee, providing billing information for two credit cards

 belonging to Contributor #12 for the purpose of authorizing a

 contribution to the Committee.”                (Id. ¶ 44.)       Subsequently, two

 contributions of $5,800 and $5,000 “were made to the Committee or

 affiliated political committees using the credit card billing

 information provided by Contributor #12.”                  (Id.) On the same day,

 Defendant allegedly “caused a third contribution” (hereafter, the

                                           14
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 15 of 71 PageID #: 1237



 “Fraudulent Contribution”) of $5,000, “to be made to the Committee

 or affiliated political committees using the credit card billing

 information provided by Contributor #12.”          (Id.)

             The total amount of contributions charged to the credit

 cards of Contributor #12 equaled approximately $15,800; “[t]his

 total exceeded the limits set by the Election Act for the 2022

 election cycle.”     (Id. ¶ 45.)    Further, the S-2 Indictment alleges

 “Contributor #12 did not know of or authorize charges exceeding

 such limits.”     (Id.)    “For the purpose of masking the true source

 of some of these funds and thereby circumventing the Election Act’s

 limits on the amount and sources of money that could be contributed

 to a federal candidate for elected office,” Defendant “falsely

 identified the source of the funds for the Fraudulent Contribution

 to be” one of Defendant’s relatives, identified as “Person #2.”

 (Id.)    Person #2 was falsely identified “as the source of the

 funds” for two contributions, one of $2,400, and another of $2,600,

 in the Year-End 2021 Report submitted to the FEC on or about

 January 31, 2022.      (Id.)

             In the subsequent months, with neither the knowledge of

 Contributor #12 nor authorization from same, Defendant “repeatedly

 used the credit card billing information of Contributor #12 in

 attempts to make at least $44,800 in unauthorized charges.”              (Id.

 ¶ 46.)    Indeed, the S-2 Indictment alleges Defendant “attempted to

 use the credit card billing information of Contributor #12 to make

                                       15
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 16 of 71 PageID #: 1238



 contributions to the Committee and to the campaign committees of

 other candidates for elected office in the names of,” inter alia:

 “(a) [Defendant] himself; (b) Person #2; (c) Person #3 . . . and

 (d) Person #4.”        (Id.)     Moreover, “[o]n at least one occasion,”

 Defendant allegedly “used the credit card billing information for

 Contributor #12 to transfer more than $11,000 to” Defendant’s

 “personal bank account”; such transfer was made with neither the

 knowledge nor authorization of Contributor #12. (Id. ¶ 47.) Next,

 “[o]n or about August 1, 2022,” Defendant allegedly “used the

 credit card billing information for Contributor #12 to cause a

 charge of $12,000, using the credit card processing account of

 Company #1.    Of that sum, approximately $11,651.70 was transferred

 to the bank account of Company #1.”                       (Id.)    The “same day,

 approximately $11,580 was then transferred from the bank account

 of Company #1 to” Defendant’s personal bank account.                     (Id.)

             The S-2 Indictment further alleges Defendant “used the

 credit card billing information of other individuals” besides

 Contributor     #12    “to    contribute       to   the    Committee    and   to   the

 campaigns of other candidates for elected office, all without the

 knowledge or authorization of th[ose] individual cardholders.”

 (Id. ¶ 48.)     Similarly, “to mask the true source of the funds and

 to    circumvent       the     Election        Act’s      limits   on    individual

 contributions,” Defendant masked “those fraudulent transactions by

 using    the   names     of    other   unwitting          individuals,    including

                                           16
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 17 of 71 PageID #: 1239



 individuals who had previously contributed to his campaign and his

 own relatives, among others.”               (Id.)

          C. The Company #1 Fraud Scheme

             As to the Company #1 Fraud Scheme, according to the S-2

 Indictment, Defendant “directed Person #1 to solicit contributions

 to   Company   #1       from prospective         contributors     via emails,     text

 messages and telephone calls.”                (Id. ¶ 49.)       “In furtherance of

 th[ese] efforts,” Defendant “arranged for the creation of an email

 address associated with Company #1 for Person #1, provided Person

 #1   with    the    names        and   contact      information     of    prospective

 contributors and conveyed false information to Person #1 about the

 nature of Company #1 and the purpose of the contributions.”                     (Id.)

 The S-2 Indictment alleges Defendant did so “knowing that Person

 #1 would then communicate the false information to prospective

 contributors.”          (Id.)    Indeed, at Defendant’s direction, Person #1

 is alleged to have “falsely advised prospective contributors,

 inter alia, that Company #1 was a Section 501(c)(4) social welfare

 organization       or    an     independent      expenditure-only    committee     and

 therefore not subject to contribution limits, and [further] that

 contributions       to     Company     #1     would   be   spent     on    television

 advertisements and other independent expenditures benefitting”

 Defendant’s “candidacy for the House.”                (Id. ¶ 50.)        Additionally,

 and again, at Defendant’s direction, “Person #1 also provided

 prospective contributors with instructions for wiring funds to a

                                             17
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 18 of 71 PageID #: 1240



 bank account maintained by Company #1.”           (Id.)   Defendant was an

 authorized signatory of this account (hereafter, “Company #1 Bank

 Account”).     (Id.)

             According to the S-2 Indictment, Defendant also “sent to

 prospective contributors one or more text messages in which he

 requested”     they    “speak   with   representatives     of   Company    #1,

 indicated that he needed contributions to Company #1 and falsely

 represented that such contributions would be spent on television

 advertisements independently purchased by Company #1” in support

 of Defendant’s House candidacy.             (Id. ¶ 51.)   “After receiving

 emails and text messages from” Defendant and Person #1, “and in

 reliance upon the materially false statements therein, one or more

 individuals made contributions to Company #1 in sums exceeding the

 limits pertaining to candidate committees.”           (Id. ¶ 52.)

             Next, “[o]n or about September 12, 2022,” Defendant

 allegedly “falsely advised Person #1 via text message that Company

 #1 was ‘a small C4’ that existed ‘just to help this race’ and that

 there were ‘no limits’ with respect to contributions.”             (Id. ¶ 53.)

 The S-2 Indictment alleges Defendant “knew that Company #1 was

 not, in fact, registered with the Internal Revenue Service as a

 Section 501(c)(4) social welfare organization.”            (Id.)

             “On or about October 4, 2022, Person #1, acting at the

 direction of” Defendant “and on behalf of Company #1, sent an email

 to Contributor #13.”      (Id. ¶ 54.) In the email, Person #1 “falsely

                                        18
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 19 of 71 PageID #: 1241



 stated, inter alia, that Company #1 was attempting to” raise

 $700,000 to “compete with the money ‘independently’ raised” for

 Defendant’s Opponent.               (Id.)    “Thereafter, on or about October 20,

 2022, Person #1, again acting at” Defendant’s direction “and on

 behalf of Company #1, sent to Contributor #13 another email, which

 falsely stated that a contribution from Contributor #13 would be

 spent, at least in part” on TV advertisement.                          (Id.)    A subsequent

 text message from Person #1, sent at Defendant’s direction, was

 sent to Contributor #13 on October 25, 2022, in which Person #1

 “falsely stated that a contribution from Contributor #13 would be

 spent,    at     least   in     part,       ‘to    purchase      ads    supporting       George

 Santos.’”      (Id.)     “On or about October 26, 2022, in reliance upon

 these emails and [the] text message, Contributor #13 caused the

 sum of $25,000 to be wired to Company #1.”                        (Id.)

                The S-2 Indictment next alleges, “on or about October

 12, 2022, Person #1,” acting at Defendant’s direction, “sent an

 email to Contributor #14,” which falsely stated, inter alia, “that

 Company #1 was formed ‘exclusively’ to aid in electing” Defendant,

 and, further “[t]here [were] no limits for contributors” since

 Company     #1    was      a    Section 501(c)(4)              independent          expenditure

 committee.       (Id. ¶ 55.)          The email “further stated that all funds

 raised    by     Company       #1    would    be       spent   ‘directly       on    supporting

 [Defendant] and his election’”; an email attachment, previously

 approved by Defendant was included with the email which described

                                                   19
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 20 of 71 PageID #: 1242



 Company      #1    as    having       been   formed       with    the   sole    purpose    of

 supporting Defendant’s candidacy.                    (Id.)       Subsequently, Defendant

 “sent to Contributor #14 one or more text messages in which” he

 “reiterated the need for contributions to Company #1, which he

 falsely stated would be spent ‘on TV’ advertisements.”                                   (Id.)

 “[I]n reliance upon the email and accompanying text messages,

 Contributor #14 caused the sum of $25,000 to be wired to Company

 #1.”      (Id.)          The     S-2    Indictment         alleges,     contrary    to    his

 representations, Defendant “knew that Company #1 was not, in fact,

 registered        with     the    FEC    as    an     independent       expenditure-only

 committee or Super PAC.”               (Id.)

               According to the S-2 Indictment, “[s]hortly after the

 contributions           from   Contributor          #13    and    Contributor      #14    were

 received by Company #1 in the Company #1 Bank Account, they were

 transferred        into        bank     accounts          controlled     by”     Defendant,

 “including Devolder Santos Bank Account #1 and a second personal

 bank account maintained” by Defendant (hereafter, “Devolder Santos

 Bank Account #2”).               (Id. ¶ 56.)         Subsequently, Defendant spent

 these funds “for his personal benefit, including to make cash

 withdrawals,        personal       purchases        of     luxury    designer    clothing,

 credit card payments, a car payment, payments on personal debts

 and    one    or    more       bank     transfers         to     [Defendant’s]     personal

 associates.”        (Id.)



                                                20
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 21 of 71 PageID #: 1243



          D. The Employment-Related Fraudulent Schemes 2

                  1. Application for and Receipt of Unemployment
                     Benefits 3

             As to Defendant’s alleged application for and receipt of

 unemployment insurance benefits, the S-2 Indictment alleges, “[o]n

 or about June 17, 2020,” Defendant “applied to receive unemployment

 insurance benefits through the New York State Department of Labor”

 (hereafter,     the   “NYS   DOL”).     (Id.   ¶ 58.)     As   part   of   his

 application, Defendant “falsely claimed to have been unemployed

 since the week of March 22, 2020.”         (Id.)   Thereafter, “[b]eginning


 2 While the Omnibus Motion does not implicate the facts pertinent
 to Defendant’s alleged Employment-Related Fraud Schemes, for the
 sake of completeness, the Court includes the allegations specific
 to these schemes herein.

 3   As alleged in the S-2 Indictment:

             On or about March 27, 2020, the Coronavirus
             Aid, Relief, and Economic Security (“CARES”)
             Act was enacted.    In light of the ongoing
             health   crisis    related   to    the   novel
             coronavirus, COVID-19, the CARES Act allocated
             additional unemployment benefits for eligible
             individuals. Specifically, the CARES Act
             established additional unemployment insurance
             programs, including the Pandemic Unemployment
             Assistance program and the Federal Pandemic
             Unemployment Compensation program.        Both
             programs were federally funded and were
             administered by states, including New York
             State.

 (S-2 Indictment ¶ 57.) The S-2 Indictment alleges, “[f]unds from
 both programs, as well as from the Federal Emergency Management
 Agency’s Lost Wages Assistance Program, comprised the benefits
 fraudulently obtained” by Defendant in connection with this
 alleged scheme. (Id.)
                                       21
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 22 of 71 PageID #: 1244



 on or about June 19, 2020, and continuing through on or about April

 15, 2021,” Defendant “certified his continuing eligibility for

 unemployment benefits on a weekly basis, in each case falsely

 attesting, inter alia, that he was unemployed, available to take

 on new work and eligible for benefits.”            (Id.)   According to the

 S-2 Indictment, however, “beginning on or about February 3, 2020,

 and continuing through on or about April 15, 2021,” Defendant “was

 a Regional Director at Investment Firm #1.”            (Id.)   “During that

 period, with the exception of approximately July 5, 2020, through

 August 30, 2020, [Defendant] received regular deposits into his

 personal bank accounts as part of his Regional Director salary of

 approximately $120,000 per year.”          (Id.)

             In sum, “[f]or the period of approximately March 22,

 2020, through April 15, 2021, based on a false application and

 false weekly certifications to the NYS DOL” Defendant “received

 approximately $24,744 in unemployment insurance benefits” which

 were deposited into Devolder Santos Bank Account #2.             (Id. ¶ 59.)

                  2. False Statements in House Disclosure Reports

             The S-2 Indictment highlights, “[p]ursuant to the Ethics

 in Government Act of 1978, as a candidate for the House in 2020

 and 2022,” Defendant owed a duty “to file a Financial Disclosure

 Statement” (hereafter, the “House Disclosures”) “at designated

 times prior to each of the general elections held on November 3,

 2020, and November 8, 2022, respectively.”             (Id. ¶ 60.)     Proper

                                       22
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 23 of 71 PageID #: 1245



 completion of the House Disclosures required Defendant to “make a

 ‘full and complete statement’” of, inter alia:

               (a) his assets and income, transactions,
               liabilities, positions held and arrangements
               and agreements; (b) “the source, type, and
               amount or value of income . . . from any
               source (other than from current employment by
               the United States Government)”; and (c) “the
               source, date, and amounts of honoraria from
               any source, received” for “the year of filing
               and the preceding calendar year.”

 (Id.)         Additionally,     “[a]s       a    candidate[,]     [Defendant]     was

 personally required to certify the House Disclosures were ‘true,

 complete, and correct to the best of [his] knowledge and belief.’”

 (Id.)

               Defendant “was required to make the[] House Disclosures

 via an online filing system maintained by the House Committee on

 Ethics or pre-printed form, and to certify that the statements

 made    therein    were   true,      complete      and   correct.”      (Id.   ¶ 61.)

 Defendant “was required to file the House Disclosures with the

 Clerk of the House, for transmission to the House Committee on

 Ethics.”      (Id.)

               According to the S-2 Indictment, “[o]n or about May 11,

 2020,    in    connection     with    the       2020   election   for   the    House,”

 Defendant “filed two House Disclosures” (hereafter, the “2020

 House Disclosures”) where:

               [H]e falsely certified that, during the
               reporting period: (a) his only earned income
               consisted of salary, commission and bonuses

                                             23
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 24 of 71 PageID #: 1246



             totaling $55,000 from Company #2[;] . . . and
             (b) the only compensation exceeding $5,000 he
             received from a single source in which he had
             an ownership interest was an unspecified
             commission bonus from Company #2.

 (Id. ¶ 62.)     Notwithstanding Defendant’s attestations, Defendant

 was allegedly aware that “from approximately February 1, 2020,

 through the date upon which he filed the 2020 House Disclosures,”

 he had “received approximately $25,403 in income from Investment

 Firm #1, which he failed to truthfully report as required.”                (Id.

 ¶ 63.) Furthermore, Defendant allegedly “knew that he had received

 only $27,555 in compensation from Company #2 in 2019.”             (Id.)

             “Thereafter,     on   or    about   September     6,   2022,     in

 connection with the 2022 election for the House,” Defendant “filed

 a House Disclosure” (hereafter, the “2022 House Disclosure”),

 where he:

             [F]alsely certified that, during the reporting
             period: (a) his earned income consisted of
             $750,000   in   salary   from   the   Devolder
             Organization LLC; (b) his unearned income
             included    dividends   from    the   Devolder
             Organization LLC valued at between $1,000,001
             and $5,000,000; (c) he had no compensation
             exceeding $5,000 from a single source in which
             he had an ownership interest; (d) he owned a
             checking account with deposits totaling
             between $100,001 and $250,000; and (e) he
             owned a savings account with deposits totaling
             between $1,000,001 and $5,000,000.

 (Id. ¶ 64.)     Contrary to his assertions, Defendant allegedly knew

 that “during the applicable reporting period, he had not received

 from the Devolder Organization LLC the reported amounts of salary

                                        24
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 25 of 71 PageID #: 1247



 or dividends and, during the reporting period, he did not maintain

 checking     or   savings     accounts    with   deposits   in   the   reported

 amounts.”     (Id. ¶ 65.)       Furthermore, “from approximately January

 2021 through September 2021, [Defendant] received approximately

 $28,107 in income from Investment Firm #1 and approximately $20,304

 in unemployment insurance benefits from the NYS DOL” neither of

 which was truthfully reported as was required.              (Id.)


                                PROCEDURAL HISTORY

              In   view   of   the   foregoing    allegations,    Defendant   is

 charged by a twenty-three count Second Superseding Indictment,

 dated May 28, 2024. (See generally S-2 Indictment.) 4 These counts,

 outlined with reference to the alleged “scheme” to which they

 pertain, are as follows:

                               Party Program Scheme
     COUNT 1: Conspiracy (18 U.S.C. § 371)
     2021 Year End Report      Count 2: Wire Fraud
                               (18 U.S.C. § 1343)
                               COUNT 4: False Statements
                               (18 U.S.C. § 1001(a)(2))
                               COUNT 5: Falsification of a Document



 4 Defendant was arraigned on the initial indictment on May 10,
 2023, and entered a plea of not guilty.      (See ECF No. 9.)    On
 October 27, 2023, Defendant was arraigned on the first superseding
 indictment (hereafter, the “S-1 Indictment”) and, likewise,
 entered a plea of not guilty. (See ECF No. 53.) Defendant is
 scheduled to be arraigned on the S-2 Indictment on August 13, 2024.
 (See June 11, 2024 Elec. Order.)
                                          25
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 26 of 71 PageID #: 1248



                            Party Program Scheme
                            (18 U.S.C. § 1519)
                            COUNT 6: Aggravated Identity Theft
                            (18 U.S.C. § 1028A(a)(1))
  April 22 Quarterly        COUNT 3: Wire Fraud
  Report
                            (18 U.S.C. § 1343)
                            COUNT 7: False Statements
                            (18 U.S.C. § 1001(a)(2))
                            COUNT 8: Falsification of a Document
                            (18 U.S.C. § 1519)
                          Credit Card Fraud Scheme
  COUNT 9: Access Device Fraud (18 U.S.C. § 1343)
  COUNT 10: Aggravated Identify Theft (18 U.S.C. § 1028A(a)(1))
                          Company #1 Fraud Scheme
  Contributor #13           COUNT 11: Wire Fraud
                            (18 U.S.C. § 1343): October 4, 2022 Email
                            COUNT 13: Wire Fraud
                            (18 U.S.C. § 1343): October 20, 2022 Email
                            COUNT 15: Wire Fraud
                            (18 U.S.C. § 1343): October 25, 2022 Text
                            Message
                            COUNT 17: Unlawful Money Transactions over
                            $10,000
                            (18 U.S.C. § 1957(a)): October 26, 2022,
                            transfer of approximately $25,000
                            COUNT 18: Unlawful Money Transactions over
                            $10,000
                            (18 U.S.C. § 1957(a)): October 26, 2022,
                            transfer of approximately $24,000




                                       26
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 27 of 71 PageID #: 1249



  Contributor #14           COUNT 12: Wire Fraud
                            (18 U.S.C. § 1343): October 12, 2022 Email
                            COUNT 14: Wire Fraud
                            (18 U.S.C. § 1343): October 21, 2022 Text
                            Message
                            COUNT 16: Unlawful Money Transactions over
                            $10,000
                            (18 U.S.C. § 1957(a)): October 21, 2022
                            transfer of approximately $25,000
                   Employment-Related Fraudulent Scheme
  COUNT 19: Theft of Public Money (18 U.S.C. § 641)
  COUNT 20: Wire Fraud
  (18 U.S.C. § 1343): January 19, 2021, Receipt of $564.00 by
  Defendant from the NYS DOL.
  COUNT 21: Wire Fraud
  (18 U.S.C. § 1343): January 26, 2021, Receipt of $564.00 by
  Defendant from the NYS DOL
                      House Disclosure Report Scheme
  May 11, 2020 House COUNT 22: False Statements
  Disclosure    Report
  and   Amended  House (18 U.S.C. § 1001(a)(2))
  Disclosure Report
  September  6,   2022 COUNT 23: False Statements
  House     Disclosure
  Report               (18 U.S.C. § 1001(a)(2))



 (See S-2 Indictment ¶¶ 66-99.)
             On May 3, 2024, Defendant filed the present Omnibus

 Motion seeking: (1) dismissal of Counts Six and Ten pursuant to

 the Supreme Court’s decision in Dubin v. United States, 599 U.S.

 110 (2023); or, alternatively, dismissal of these counts on the

 basis that § 1028(A) is unconstitutionally vague both on its face,


                                       27
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 28 of 71 PageID #: 1250



 and as applied to the allegations in this case; (2) dismissal of

 Count Ten as multiplicitous of Count Nine; (3) dismissal of Count

 Nineteen as duplicitous; (4) an order compelling the Government to

 provide a Bill of Particulars; (5) an order compelling production

 and   disclosure,    from       the    Government,   of   alleged    Brady/Giglio

 material;    (6)   an    order from       this    Court striking     “prejudicial

 surplusage” from the S-2 Indictment; and (7) an order compelling

 the Government to preserve rough notes and other evidence taken by

 law enforcement agents during their interviews with all witnesses.

 (See Support Memo, ECF No. 74-1, in toto.)

             On May 31, 2024, the Government filed its Opposition to

 Defendant’s Omnibus Motion.             (See ECF No. 80.)     On May 28, 2024,

 after   Defendant       filed    his    Omnibus   Motion,   but     prior   to   the

 Government’s filing of its Opposition, the Government filed the

 S-2 Indictment against Defendant. 5            Subsequently, Defendant sought

 an extension of time to file his Reply; this request was granted

 in part and denied in part (see June 6, 2024 Elec. Order).                       On

 June 14, 2024, Defendant filed his Reply (see ECF No. 88).




 5 After filing the S-2 Indictment, the Government confirmed by
 letter that it consented to the Court construing the Defendant’s
 motion to dismiss the S-1 Indictment as applying to the S-2
 Indictment (see Letter, ECF No. 78). Defendant did not object to
 the Court construing his dismissal requests in that way but sought
 additional time to file his Reply. (See Extension Request, ECF
 No. 82, in toto.)


                                           28
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 29 of 71 PageID #: 1251



                                  DISCUSSION

  I.   Legal Standard 6

             “Rule      12   authorizes     defendants   to   challenge    the

 lawfulness of a prosecution on purely legal, as opposed to factual,

 grounds.”     United States v. Benitez-Dominguez, 440 F. Supp. 3d

 202, 205 (E.D.N.Y. 2020) (quoting United States v. Ahmed, 94 F.

 Supp. 3d 394, 404 (E.D.N.Y. 2015)).            “A defendant faces a high

 standard in seeking to dismiss an indictment, because an indictment

 need provide the defendant only a plain, concise, and definite

 written statement of the essential facts constituting the offense

 charged.”     United States v. Taveras, 504 F. Supp. 3d 272, 277

 (S.D.N.Y. 2020) (quoting United States v. Smith, 985 F. Supp. 2d

 547, 561 (S.D.N.Y. 2014)).        “On a Rule 12(b) motion to dismiss an

 indictment, ‘the Court accepts the allegations in the indictment

 as true and may not consider the sufficiency of the evidence.’”

 United States v. Navarro, 551 F. Supp. 3d 380, 388 (S.D.N.Y. 2021)

 (quoting United States v. Block, No. 16-CR-0595, 2017 WL 1608905,

 at *2 (S.D.N.Y. Apr. 28, 2017)).            Indeed, “[t]here is no federal

 criminal procedural mechanism that resembles a motion for summary

 judgment    in   the    civil   context.”      United   States   v.   Ground,

 No. 11-CR-151A, 2014 WL 9940092, at *2 (W.D.N.Y. July 29, 2014);




 6 Considering the legal standard outlined in this section, Santos’
 request to supplement his dismissal requests at a later date, “if
 the facts and circumstances warrant”, is denied.
                                       29
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 30 of 71 PageID #: 1252



 see also United States v. Phillips, 690 F. Supp. 3d 268, 277

 (S.D.N.Y. 2023) (“[S]ummary judgment does not exist in federal

 criminal procedure” (quoting United States v. Aiyer, 33 F.4th 97,

 117 (2d Cir. 2022) (alteration in original))).

             Consequently,     an   indictment    which   (1) “contains    the

 elements of the offense charged and fairly informs a defendant of

 the charge against which he must defend” and (2) “enables him to

 plead an acquittal or conviction in bar of future prosecutions for

 the same offense”, shall withstand a challenge pursuant to Rule

 12(b).    United States v. Alfonso, 143 F.3d 772, 776 (2d Cir. 1998)

 (quoting Hamling v. United States, 418 U.S. 87, 117 (1974)).               “A

 charge in an indictment is insufficient and must be dismissed when

 it does not describe conduct that is a violation of the criminal

 statute charged.”        Benitez-Dominguez, 440 F. Supp. 3d at 205

 (citations omitted); but see United States v. Bankman-Fried, 680

 F. Supp. 3d 289, 304 (S.D.N.Y. 2023) (“[T]he Second Circuit has

 deemed dismissal [of charges] an extreme sanction that has been

 upheld only in very limited and extreme circumstances, and should

 be reserved for the truly extreme cases, especially where serious

 criminal conduct is involved.        Ultimately, an indictment need not

 be perfect, and common sense and reason are more important than

 technicalities.”       (internal     quotation     marks    and    citations

 omitted)).



                                       30
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 31 of 71 PageID #: 1253



              The Second Circuit has outlined “a narrow exception to

 the   rule   that    a    court   cannot      test    the   sufficiency     of   the

 government’s evidence on a Rule 12(b) motion” where “the government

 has made what can fairly be described as a full proffer of the

 evidence it intends to present at trial”.                        United States v.

 Sampson, 898 F.3d 270, 282 (2d Cir. 2018) (citing Alfonso, 143

 F.3d at 772).       “A speaking indictment alone does not satisfy the

 ‘full    proffer’        requirement”;     instead      “the     government      must

 ‘proffer[] all of its evidence.’”                  Phillips, 690 F. Supp. 3d at

 278 (quoting Sampson, 898 F.3d at 283 (emphasis in original)); see

 e.g., United States v. Mennuti, 639 F.2d 107, 108-09 (2d Cir. 1981)

 (holding,     “an    affidavit      of        an     Assistant     United     States

 Attorney, . . . stating the facts on which [the government] would

 rely as showing that defendants’ alleged acts were within the

 statute” could be used by a court to test the sufficiency of the

 evidence), abrogated in part on other grounds, Russell v. United

 States, 471 U.S. 858 (1985).

 II.   Analysis

          A. Motion to Dismiss Counts Six & Ten of the S-2 Indictment
             for Failure to State a Claim Pursuant to Rule 12(b)(3)(v)

                  1. Applicable Legal Standard

              “Section 1028A(a)(1) applies when a defendant, ‘during

 and in relation to any [predicate offense], knowingly transfers,

 possesses,     or   uses,     without      lawful      authority,    a   means    of


                                          31
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 32 of 71 PageID #: 1254



 identification      of     another    person.’”      Dubin,      599   U.S.    at    115

 (quoting     18    U.S.C.    § 1028A(a)(1)        (alteration     in    original)).

 Qualified predicate offenses include, inter alia: wire fraud, in

 violation of 18 U.S.C § 1343; false statements, in violation of 18

 U.S.C. § 1001; and access device fraud, in violation of 18 U.S.C.

 § 1029.      See 18 U.S.C. § 1028(A)(c)(4)-(5).                  For purposes of

 § 1028A(a)(1), “means of identification” of another person is

 defined to include “any name or number that may be used, alone or

 in conjunction with any other information, to identify a specific

 individual.”       18 U.S.C. § 1028(d)(7); see also United States v.

 Dumitru,     991    F.3d    427,     432   (2d    Cir.   2021)    (“A    ‘means      of

 identification’ is defined broadly to include names.”).

             Interpreting § 1028A(a)(1), the Supreme Court recently

 clarified,     “[a]      defendant     ‘uses’    another   person’s          means   of

 identification ‘in relation to’ a predicate offense when this use

 is at the crux of what makes the conduct criminal.”                      Dubin, 599

 U.S. at 131.       “[B]eing at the crux of the criminality requires

 more than a causal relationship, such as ‘facilitation’ of the

 offense or being a but-for cause of its ‘success.’”                    Id.    Instead,

 for predicate offenses involving fraud or deceit, “the means of

 identification specifically must be used in a manner that is

 fraudulent or deceptive.             Such fraud or deceit going to identity

 can often be succinctly summarized as going to ‘who’ is involved.”

 Id. at 132.

                                            32
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 33 of 71 PageID #: 1255



                  2. Count Six of the S-2 Indictment Adequately Alleges
                     Aggravated Identity Theft

             Count Six of the S-2 Indictment charges Defendant with

 aggravated identify theft, in violation of § 1028A(a)(1) (see S-2

 Indictment ¶¶ 77, 85.)        Specifically, Count Six alleges, on or

 about January 31, 2022, Defendant, together with others:

             [D]uring and in relation to the crimes charged
             in Counts Two [wire fraud, 18 U.S.C. § 1343]
             and   Four  [false   statements,   18   U.S.C.
             § 1001(a)(2)],      did     knowingly      and
             intentionally transfer, possess and use,
             without lawful authority, one or more means of
             identification of a person, to wit: the
             name[s] of Contributor[s] #1 [through #11],
             knowing that the means of identification
             belonged to said other persons.

 (Id. ¶ 77.)

             Here,     Defendant    argues    “the   ‘crux’   of   the   fraud

 underlying Count Six is [Defendant’s] alleged false inflation of

 the amount of money raised by his campaign, not the identities of

 the individuals that donated.”           (Support Memo at 12.)     Defendant

 highlights, “who Santos and Marks allegedly used to falsely inflate

 the fundraising totals was irrelevant to the overall goal” which,

 as alleged in the operative Indictment, was to “report fundraising

 totals sufficient to meet the $250,000 threshold necessary to

 qualify for the second phase of the Program.”            (Id.)    Expounding

 upon his argument, Defendant urges this Court to consider recently

 disclosed     Brady     evidence    in      which


                                    I
                                        33
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 34 of 71 PageID #: 1256




                      -■-■


 Defendant contends this disclosure emphasizes the inapplicability

 of § 1028A since the usage of the Contributors’ names “was an

 ancillary feature of what makes the conduct criminal and cannot be

 said to have played a ‘key role’ in the fraud described by the

 government.”     (Id. at 13.)

             The Government counters, as an initial matter, Santos’

 argument is inappropriate at the pretrial stage of proceedings

 since he challenges the sufficiency of the Government’s evidence,

 “not . . . the contours of the indictment under Rule 7 or Rule

 12”.   (Opp’n at 18.)      The Government emphasizes it has not made a

 full proffer of its evidence, and that it has “met, and exceeded,

 its obligations under Rule 7 and is under no obligation to provide

 Santos with a more fulsome preview of its trial evidence.”               (Id.

 at   19.)      Addressing    Defendant’s     Dubin-based    arguments,    the

 Government contends Defendant’s “claims are premised on inaccurate

 and premature framings of the facts.”            (Id.)     For example, the

 Government refutes Santos’ assertion that the identities of the

 individual contributors were ancillary to the falsehoods central

 to the predicate offenses.       (Id.)     On the contrary, the Government

 asserts, “Count Six alleges that Santos and Marks conspired to,

                                       34
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 35 of 71 PageID #: 1257



 and did, use the real names of eleven individuals without those

 individuals’ knowledge or consent by falsely reporting to the FEC

 that those individuals had made certain non-existent campaign

 contributions[.]”         (Id.)         The   Government    emphasizes    these

 allegations adequately state a violation of § 1028A post-Dubin

 since they form part of a “fraud or deceit” which goes “to ‘who’

 is   involved.”      (Id.)       Further,     the   Government   stresses   the

 fact-based     nature   of   Defendant’s       arguments,    highlighting    it

 expects to introduce trial evidence which will “establish beyond

 a    reasonable     doubt    that       the   representation     that     the[]

 contributions had been made by real individual contributors was

 material to the National Party Committee #1”, notwithstanding




 (Id. at 20.)

             First, the Court agrees with the Government that Santos

 cannot presently challenge the sufficiency of the Government’s

 evidence since, notwithstanding the lengthy nature of the S-2

 Indictment’s      allegations,    the    Government    has not   made a     full

 proffer of its evidence.          Phillips, 690 F. Supp. 3d at 278 (“The

 Government, or the grand jury more precisely, is permitted to give

 a defendant more detail regarding the evidence against him without

 assuming the risk that a court will treat such detail as a proffer

 of all of the evidence.”).        Consequently, Santos may challenge the

                                         35
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 36 of 71 PageID #: 1258



 S-2 Indictment solely on legal grounds.                      See United States v.

 Watson, No. 23-CR-0082, 2024 WL 1858199, at *5 (E.D.N.Y. Apr. 29,

 2024) (denying motion to dismiss aggravated identity theft count

 in   indictment     because    “sufficiency           of   the     evidence   is     not

 appropriately      addressed   on    a    pretrial         motion    to    dismiss    an

 indictment” and defendant “ha[d] not shown that anything like a

 ‘full proffer’” of the evidence had been made by the Government). 7

             Undeterred, Defendant contends his Dubin-based arguments

 remain cognizable before this Court because his challenge goes to

 “the adequacy of the allegations in the S-2 Indictment.”                        (Reply

 at   6.)     Santos   elaborates,        post-Dubin “the           S-2    Indictment’s

 allegations, even if true, are legally insufficient to support a

 Section    1028A   conviction,      and       there    are    no    supplemental      or

 different facts the government can present at trial to change

 that.”     (Id. at 10 (emphasis in original); see also id. at 11




 7 Defendant attempts to distinguish Watson by arguing “the Watson
 court denied the [defendant’s] motion because materiality is a
 ‘mixed question of law and fact that the Second Circuit has
 repeatedly held is properly reserved for jury determination.’”
 (Reply at 11-12.) However, the discussion of materiality in Watson
 was unrelated to the defendant’s motion to dismiss the § 1028A
 count in that case. Instead, in denying the Watson defendant’s
 motion to dismiss the aggravated identity theft count, the Watson
 court found that: (1) the count properly “recite[d] the elements
 of the offense”; (2) sufficiency of the allegations was not
 appropriately addressed at the motion to dismiss stage of
 proceedings; and (3) defendant could not show a full proffer had
 been made by the Government. Watson, 2024 WL 1858199, at *5. So
 too here.


                                          36
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 37 of 71 PageID #: 1259



 (“Santos’ unauthorized use of names on FEC reports for the purpose

 of inflating contribution totals . . . can never sustain a section

 1028A charge post-Dubin, regardless of how many additional facts

 the government presents at trial” (emphasis in original).) The

 Court disagrees. Indeed, proof that the usage of the contributors’

 names was a key mover in the criminality would suffice to satisfy

 the “crux” requirement elucidated in Dubin.            See Dubin, 599 U.S.

 at 122-23.

                Here, United States v. Croft is illustrative.        87 F.4th

 644 (5th Cir. 2023), cert. denied, 144 S. Ct. 1130 (2024). 8               In

 Croft    the    Fifth   Circuit   affirmed    an   appellant’s    aggravated




 8 By contrast, the facts presented in Dubin are markedly different
 from those of the case at bar and Croft. In Dubin, petitioner
 submitted a reimbursement claim to Medicaid for psychological
 testing   performed   by   a   licensed  psychologist    when   the
 psychological testing was actually performed by a more junior
 “psychological associate”.    599 U.S. at 114.     “This falsehood
 inflated the amount of reimbursement.”        Id.     Consequently,
 petitioner was charged with healthcare fraud under 18 U.S.C.
 § 1347. Id.    Moreover, because petitioner’s fraudulent billing
 used the patient’s name and Medicaid number, the Government
 contended “that § 1028A(1) was automatically satisfied”; so, he
 was charged with aggravated identity theft pursuant to that
 section. Id. at 114-15.

 In reversing petitioner’s aggravated identity theft conviction,
 the Supreme Court held that the use of the patient’s name “was not
 at the crux of what made the underlying overbilling fraudulent”.
 Id. at 132.    Instead, the usage of the patient’s name “was an
 ancillary feature of the billing method employed.” Id. That is,
 the petitioner’s fraud in Dubin “was in misrepresenting how and
 when services were provided to a patient, [and] not who received
 the services.” Id.


                                       37
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 38 of 71 PageID #: 1260



 identity theft conviction, post-Dubin, under factual circumstances

 akin to those presented here. 9           Id.     The appellant in Croft “owned

 and   operated       Universal    K-9,    a    school    that   primarily     trained

 handlers       and     dogs      for     police       work.”      Id.    at     646.

 Appellant sought to expand his business “by offering courses to

 veterans, who would pay tuition using G.I. Bill funds paid by the

 Department of Veterans Affairs.”              Id.     Eligibility for these funds

 required Universal K-9 “to first obtain certification from the

 Texas Veterans Commission” (the “TVC”), which required Universal

 K-9 to employ “dog trainers with certain qualifications.”                   Id.   In

 March 2016, the Croft appellant submitted an application to the

 TVC which represented four instructors, each of whom possessed the

 requisite qualifications, taught classes at Universal K-9.                        Id.

 At    trial,     witness      testimony        from     these   four    instructors

 established “they had never given their permission to be named as

 instructors for the purposes of the TVC application, nor had they

 actually served as instructors for the courses listed.”                           Id.

 Likewise, “the Assistant Director of the TVC during the relevant

 timeframe, testified that Universal K-9’s application would not

 have been approved without the names of the instructors, their



 9 The Court recognizes that while Croft is not binding upon this
 Court,   absent  direct   authority  from   the  Second   Circuit
 interpreting Dubin, the Court finds the Fifth Circuit’s reasoning
 and analysis in Croft to be persuasive.


                                           38
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 39 of 71 PageID #: 1261



 qualifications,     and    information       about   the    classes   they   would

 teach.” 10    Id.   Affirming the Croft appellant’s conviction, the

 Fifth Circuit held, “the government met its ‘core’ or ‘crux’ burden

 under Dubin” because the appellant’s “application to the TVC was

 fraudulent” due to “his misappropriation of the victim trainers’

 means of identification” and “[t]his theft was the ‘key mover in

 [the appellant’s] criminality.’”             Id. at 649.

              Here, the allegations in the S-2 Indictment resemble the

 facts in Croft.       For example, the S-2 Indictment alleges Santos

 and Marks conspired to inflate Defendant’s fundraising totals to

 qualify for the second phase of the Program and receive financial

 and logistical support from National Party Committee #1.                      Only

 qualified     candidates      whose    fundraising     totals     exceeded     the

 $250,000 threshold were eligible to receive such support.                       To

 appear to have qualified, Defendant used the real names of eleven

 “contributors”      without    their    knowledge,     or    authorization,    to

 falsely report to the FEC that those individuals had contributed

 to the Committee. (See S-2 Indictment ¶¶ 76-77.)                Defendant’s use

 of the contributors’ means of identification, therefore, can be

 said to have been central, or “a key mover”, in the criminality

 because his misrepresentations about “who” contributed to his



 10 Another representative of the TVC testified, “the roster of
 instructors and their qualifications was ‘particularly important’
 to the application.” Croft, 87 F.4th at 649.
                                         39
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 40 of 71 PageID #: 1262



 campaign share a strong nexus with the predicate offenses charged.

 See also United States v. De Los Santos, No. 22-CR-3164, 2024 WL

 3041944, at *2 n.3 (2d Cir. June 18, 2024) (stating, regarding

 § 1028A, “the misuse of another person’s means of identification

 [is] ‘at the crux’ of the fraud” where “the very nature of the

 scheme required the use of a person’s identification”); United

 States    v.     Gladden,   78   F.4th     1232,   1244   (11th     Cir.   2023)

 (explaining, Dubin limited § 1028A’s reach “to situations where ‘a

 genuine nexus’ exists between the use of a means of identification

 and the predicate offense”).             Without either knowing the full

 extent of the Government’s evidence or testing the sufficiency of

 evidence of which the Parties have made the Court aware, the Court

 cannot, as a matter of law, find that the allegations in the S-2

 Indictment can never sustain a § 1028A conviction.

                   3. Count Ten of the S-2 Indictment Adequately Alleges
                      Aggravated Identity Theft

             In    pertinent   part,   Count    Ten of     the S-2    Indictment

 alleges, in or about and between December 2021 and August 2022,

 Defendant, together with others:

             [D]uring and in relation to the crime charged
             in Count Nine [access device fraud, 18 U.S.C.
             § 1029(a)(5)],      did     knowingly      and
             intentionally transfer, possess and use,
             without lawful authority, one or more means of
             identification of one or more persons.




                                       40
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 41 of 71 PageID #: 1263



 (Id. ¶ 85.) 11

             In sum, Defendant characterizes Count Ten as alleging

 “that contributors to Santos’ campaign provided him with their

 credit card information and authority to charge a contribution,

 but that in addition to charging the authorized contribution,

 Santos    overcharged    these    credit   cards   by   making    additional

 unauthorized charges.”      (Support Memo at 16.)       Defendant contends,

 “Dubin makes clear, this is precisely the type of overcharging or

 overbilling that does not constitute aggravated identity theft

 under Section 1028A.”       (Id.)

             The Government hastens to correct Defendant’s narrow

 construction of the allegations relevant to Count Ten, emphasizing

 that the conduct complained of went beyond merely “overcharging.”

 Indeed, the Government asserts, “the [S-2] Indictment makes clear,

 Santos is alleged to have committed aggravated identity theft in

 Count Ten in two ways”: first, by using “contributors’ credit card



 11 The Court notes that the quoted language, taken from the S-2
 Indictment, differs slightly from what was initially alleged under
 Count Ten of the S-1 Indictment in that the S-1 Indictment included
 a “to wit” clause. (Compare id. ¶ 85, with S-1 Indictment, ECF
 No. 50, ¶ 85 (“In or about and between December 2021 and August
 2022, both dates being approximate and inclusive, within the
 Eastern    District    of    New    York   and    elsewhere,    the
 defendant . . . together with others, during and in relation to
 the crime charged in Count Nine, did knowingly and intentionally
 transfer, possess and use, without lawful authority, one or more
 means of identification of one or more persons, to wit: the name
 and access device of Contributor #12, knowing that the means of
 identification belonged to another person.” (emphasis added)).)
                                       41
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 42 of 71 PageID #: 1264



 billing    information       to    make    unauthorized        contributions   to

 political committees, including his own, and to transfer money to

 his personal bank account, all without the cardholders’ knowledge

 or consent” ; and second, by “‘conceal[ing] the true source of the

 funds by misappropriating the personal identity information’ of

 others.”    (Opp’n at 20.)        Specifically, the Government emphasizes:

             [I]n an effort to mask the true source of the
             funds and to circumvent the Election Act’s
             limits on individual contributions, [Santos]
             repeatedly     masked     those     fraudulent
             transactions by using the names of other
             unwitting individuals, including individuals
             who had previously contributed to his campaign
             and his own relatives, among others.

 (Id. at 21.)       In so doing, the Government argues Santos was able

 to “create[] the false impression that different people were making

 the various charges, thus allowing him to charge the same credit

 cards multiple times for campaign contributions without appearing

 to exceed campaign contribution limits.”                (Id.)     The Government

 asserts these allegations “track[] [the] ordinary understandings

 of   identity      theft.”    (Id.)        Moreover,     it    contends,   “Dubin

 specifically cites as an example of identity theft ‘a crime in

 which someone steals personal information about and belonging to

 another,    such    as   a bank-account        number   or a    driver’s-license

 number, and uses the information to deceive others.’”                 (Id.)

             Here, the Court finds Count Ten of the S-2 Indictment

 adequately alleges aggravated identity theft under either of the


                                           42
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 43 of 71 PageID #: 1265



 Government’s two theories, since the underpinning of each theory

 is   Defendant’s    “unlawful    taking    and   use   of   another    person’s

 identifying     information”    --   either      the   credit   card   billing

 information of non-consenting cardholders, or the names of false

 contributors -- “for fraudulent purposes.”               Dubin, 599 U.S. at

 122. 12   Dubin makes clear such situations constitute aggravated

 identity theft under § 1028A since the focus is centered upon how

 a defendant used the means of identification to deceive.               See id.

 at 122-23 (“This understanding of identity theft also supports a

 more targeted definition of ‘uses.’ The word ‘use’ appears in these

 definitions with a specific meaning: Identity theft encompasses

 when a defendant ‘uses the information to deceive others,’ and

 ‘the fraudulent . . . use’ of a means of identification[.] In

 other words, identity theft is committed when a defendant uses the

 means of identification itself to defraud or deceive. This tracks

 the Sixth Circuit’s heuristic. When a means of identification is


 12Defendant notes the operative indictment “does not allege that
 Santos came into possession of any of the contributors’ credit
 card information unlawfully” and, on the contrary, “[a]ll of the
 credit cards were voluntarily sent to Santos’ campaign”. (Support
 Memo at 14.) In so arguing, Santos contends Count Ten must be
 dismissed since Dubin “explicitly limited the application of
 Section 1028A to circumstances in which a defendant has improperly
 transferred the means of identification.” (Id. at 17.) The Court
 is neither persuaded by Defendant’s argument, nor his framing of
 the Supreme Court’s holding in Dubin. In fact, and as noted in
 Dubin, “‘[s]teal[ing]’ can, of course, include situations where
 something was initially lawfully acquired.” Dubin, 599 U.S. at 122
 n.6 (citing BLACK’S LAW DICTIONARY 1710 (11th ed. 2019) (alteration in
 original)).
                                       43
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 44 of 71 PageID #: 1266



 used deceptively, this deception goes to ‘who’ is involved, rather

 than just ‘how’ or ‘when’ services were provided. Use of the means

 of    identification       would      therefore      be     at    ‘the   locus    of     [the

 criminal] undertaking,’ rather than merely ‘passive,’ ‘passing,’

 or    ancillary       employment      in a    crime.’” (emphasis in              original)

 (internal citations omitted)).

          B. Motion to Dismiss Counts Six & Ten of the S-2 Indictment
             Based Upon Unconstitutional Vagueness

                      1. Applicable Legal Standard

                The    Fifth    Amendment      provides           no   person    shall    “be

 deprived of life, liberty, or property, without due process of the

 law.”        U.S. CONST. amend. V.            “A statute can be impermissibly

 vague”, and, consequently, violative of the Fifth Amendment’s Due

 Process Clause, “for either of two independent reasons”.                           Hill v.

 Colorado,       530    U.S.    703,     732       (2000).    First,      a     statute     is

 impermissibly vague “if it fails to provide people of ordinary

 intelligence a reasonable opportunity to understand what conduct

 it prohibits.” Id.            Second, a statute can be impermissibly vague

 “if    its    vagueness       makes    the    law    unacceptably         vulnerable       to

 ‘arbitrary enforcement.’” United States v. Demott, 906 F.3d 231,

 237 (2d. Cir. 2018) (citing Kolender v. Lawson, 461 U.S. 352,

 357-58 (1983)).




                                              44
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 45 of 71 PageID #: 1267



                  2. The    Court    Declines    to    Find                 § 1028A
                     Unconstitutionally Vague on its Face

             Alternatively, Santos argues Counts Six and Ten of the

 S-2   Indictment     must      also    be     dismissed   because     § 1028A    is

 unconstitutionally vague on its face.              (Support Memo at 20.)

             A statute may be challenged as vague “on its face” where

 the    statute     “is    so     fatally        indefinite    that    it    cannot

 constitutionally be applied to anyone.”                Copeland v. Vance, 893

 F.3d 101, 110 (2d Cir. 2018).               “A facial challenge is ‘the most

 difficult challenge to mount successfully’ because, as a general

 matter, ‘the challenger must establish that no set of circumstances

 exists under which the Act would be valid.’”                 Id. (quoting United

 States v. Salerno, 481 U.S. 739, 745 (1987)).

             Santos cites neither controlling nor persuasive law on

 this issue; instead, Defendant simply asserts his agreement with

 Justice Gorsuch’s concurrence in Dubin.                   (See Support Memo at

 20-21.)     The Court declines to engage Defendant in a purely

 academic discussion. Instead, the Court simply highlights that,

 while the issue of unconstitutional vagueness was not before the

 Supreme    Court   in    Dubin,       Justice    Sotomayor,    writing     for   the

 majority,    addressed      Justice     Gorsuch’s    concerns    as   to   whether

 § 1028A was unconstitutionally vague in a manner which this Court

 perceives as foreclosing Defendant’s current argument.                 See Dubin,

 599 U.S. at 132 n.10 (“The concurrence’s bewilderment is not,


                                          45
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 46 of 71 PageID #: 1268



 fortunately, the standard for striking down an Act of Congress as

 unconstitutionally vague. There will be close cases, certainly,

 but that is commonplace in criminal law. . . . [R]esolving hard

 cases is part of the judicial job description. Hastily resorting

 to vagueness doctrine, in contrast, would hobble legislatures’

 ability to draw nuanced lines to address a complex world. Such an

 approach would also leave victims of actual aggravated identity

 theft,    a   serious    offense,    without     the    added     protection     of

 § 1028A(a)(1).”).

               “Under [this] guidance,” the Court “decline[s] to find

 that Section 1028A is unconstitutionally vague.” Gladden, 78 F.4th

 at 1247; see also United States v. Demasi, No. 22-CV-20670, 2023

 WL 6701998, at *6 (E.D. Mich. Oct. 12, 2023) (same).

                  3. Santos’ As-Applied         Challenge        to     § 1028A   is
                     Premature

               Santos     next       challenges         § 1028A         as    being

 unconstitutionally vague as applied to the facts of his case.

               A vagueness challenge can also “concern a statute ‘as

 applied’ to the challenger, who professes that the law in question

 ‘cannot constitutionally be applied to the challenger’s individual

 circumstances.’”        United States v. Requena, 980 F.3d 30, 39 (2d

 Cir. 2020) (quoting Vance, 893 F.3d at 110).

               Santos’ as-applied vagueness arguments recycle many of

 his    previously      raised   points,     i.e.,      that      the    means    of


                                        46
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 47 of 71 PageID #: 1269



 identification used purportedly did not go to the crux of the

 fraudulent scheme, but was merely ancillary to it, and expounds,

 as to Count Six, that “[a]n ordinary person would not appreciate

 that such ancillary use of names, when the purpose was to inflate

 values alone, constitutes identity theft under Section 1028A.”

 (Support Memo at 22.)         As to Count Ten, Santos avers “[i]t is

 particularly difficult to determine whether the[] allegations fall

 within Section 1028A because Santos was provided the credit card

 information voluntarily by his contributors and given authority to

 make contributions to his campaign.”             (Id.; contra supra n.12.)

             At this stage, the Court need not address the merits of

 Santos’     as-applied      challenge        because,    by   Defendant’s    own

 admission, “a constitutional ‘as applied’ challenge requires the

 record to be ‘clear what the defendant did.’” (Reply at 15 (quoting

 Raniere, 384 F. Supp. 3d at 320-21).)              Indeed, a defendant “must

 wait to bring an as-applied vagueness challenge until the facts

 have been established by evidence introduced at trial and the

 fact-finder has had an opportunity to weigh in.”               Raniere, 384 F.

 Supp. 3d at 320 (quoting United States v. Ford, No. 14-CR-0045,

 2016 WL 4443171, at *14 (D. Or. Aug 22, 2016)); see also Phillips,

 2023   WL   5671227,   at   *13   (“[T]he      Court    requires   full   factual

 development at trial before it can determine whether the [relevant]

 statutes failed to provide Defendant fair warning that his conduct

 was prohibited by law, as required by the Due Process Clause.”);

                                         47
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 48 of 71 PageID #: 1270



 United States v. Avenatti, 432 F. Supp. 3d 354, 366 (S.D.N.Y. 2020)

 (denying as premature defendant’s as-applied vagueness challenge

 to honest services charge on a motion to dismiss); United States

 v. Milani, 739 F. Supp. 216, 217 (S.D.N.Y. 1990) (“In the absence

 of a plenary trial record this Court is unable to rule on whether

 the statute is impermissibly vague as applied to defendant.”).

       In view of the foregoing, Defendant’s as-applied challenge is

 denied without prejudice.

          C. Motion to Dismiss Count Ten of the S-2 Indictment on
             Multiplicity Grounds

             “An indictment is multiplicitous and violates the Fifth

 Amendment’s    Double    Jeopardy   Clause   ‘when it    charges a     single

 offense as an offense multiple times, in separate counts, when, in

 law and fact, only one crime has been committed.’”            United States

 v. Doe, No. 22-CR-3108, 2024 WL 1231042, at *4 (2d Cir. 2024)

 (quoting United States v. Chacko, 169 F.3d 140, 145 (2d Cir.

 1999)). “An indictment is not multiplicitous, however, if Congress

 intended to ‘authorize separate punishments for the conduct in

 question.’”     United States v. Hossain, 579 F. Supp. 3d 477, 482

 (S.D.N.Y. 2022) (quoting United States v. Holmes, 44 F.3d 1150,

 1154 (2d Cir. 1995)).       “[T]he critical double jeopardy inquiry is

 not factual, i.e., whether the same conduct is at issue in charges

 brought under different statutes, but legal, i.e., whether the

 ‘offense’—in the legal sense, as defined by Congress—complained of


                                       48
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 49 of 71 PageID #: 1271



 in one count is the same as that charged in another.”                     United

 States v. Barnaby, No. 18-CR-0033, 2021 WL 2895648, at *5 (E.D.N.Y.

 July 8, 2021) (quoting United States v. Basciano, 599 F.3d 184,

 198 (2d Cir. 2010)).

               To determine whether charges are multiplicitous, courts

 “apply the same-elements test established in Blockburger v. United

 States, 284 U.S. 299 (1932).”            Id.    Under Blockburger, the court

 inquires “whether each [statute] requires proof of a fact which

 the other does not.”           Hossain, 579 F. Supp. 3d at 482 (quoting

 Blockburger, 284 U.S. at 304) (alteration in original).                    “More

 explicitly,      the   court    should    ‘inquire      whether   each   offense

 contains an element not contained in the other; if not, they are

 the ‘same offense’ and double jeopardy bars subsequent punishment

 or prosecution.”       Id. (quoting United States v. Dixon, 509 U.S.

 688, 696 (1993)).

               Defendant    argues,     “Count     10,    charging    aggravated

 identity theft in violation of 18 U.S.C. § 1028A(a)(1), must be

 dismissed as multiplicitous to Count 9”, charging access device

 fraud    in   violation    of    18   U.S.C.    § 1029(a)(5),     “because   the

 government’s overly broad application of aggravated identity theft

 does not require proof of a fact which the access device fraud in

 Count 9 does not.”        (Support Memo at 24-25 (internal citation and

 alteration omitted).)       Santos highlights both Counts Ten and Count

 Nine, the predicate felony, are based upon identical facts, i.e.,

                                          49
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 50 of 71 PageID #: 1272



 “that Santos overcharged the credit cards of donors who contributed

 to his campaign.”         (Id. at 25.)        Defendant contends, under the

 Government’s       theory     of      § 1028A(a)(1)’s    application,     “any

 overcharging of another’s credit card, which constitutes access

 device fraud, also automatically constitutes aggravated identity

 theft.”    (Id.)

             In opposition, the Government succinctly highlights the

 Blockburger test “clearly defeats Santos’s multiplicity argument”

 since   “Section    1028A    requires     proof   that   Santos   transferred,

 possessed, or used, a means of identification, whereas Section

 1029(a)(5) does not. And unlike Section 1028A, Section 1029(a)(5)

 requires proof that Santos acted with intent to defraud, used an

 unauthorized     access     device,    and    received payment    of at   least

 $1,000.”     (Opp’n at 31.)        Further, the Government contends “the

 text of Section 1028A demonstrates that Congress ‘intended to

 authorize separate punishments’ when it explicitly mandated a

 two-year prison sentence for aggravated identity theft”.                  (Id.

 (citation omitted)). 13


 13While the Court need not reach the merits of Santos’ multiplicity
 arguments at this juncture, the Court notes both Parties
 acknowledge that, prior to Dubin, the Second Circuit had previously
 held a conviction for both aggravated identity theft and access
 device fraud did not violate the Fifth Amendment’s Double Jeopardy
 Clause, since “cumulative punishment is authorized for” aggravated
 identity theft. See United States v. Abdur-Rahman, 512 F. App’x
 1, 3 (2d Cir. 2013). The Court finds unconvincing Santos’ attempt
 to argue Dubin’s narrowing of § 1028A calls into question the
 holding in Abdur-Rahman.
                                          50
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 51 of 71 PageID #: 1273



               Defendant concedes this arm of his Motion is premature

 but avers he makes the present application “to preserve his rights”

 (see Support Memo at 26-27); Defendant’s motion to dismiss Count

 Ten as multiplicitous is, therefore, denied without prejudice for

 this reason.         See United States v. Josephberg, 459 F.3d 350, 355

 (2d    Cir.        2006)        (“Where       two    statutory    sections        operate

 independently of one another, ‘there is no bar to the Government’s

 proceeding         with    prosecution           simultaneously        under     the     two

 statutes’” (quoting Ball v. United States, 470 U.S. 856, 860

 (1985))); see also United States v. Medina, No. 13-CR-0272, 2014

 WL 3057917, at *3 (S.D.N.Y. July 7, 2014) (explaining, “[s]ince

 Josephberg, courts in this Circuit have routinely denied pre-trial

 motions       to     dismiss          potentially      multiplicitous          counts     as

 premature”); United States v. Mostafa, 965 F. Supp. 2d 451, 464

 (S.D.N.Y. 2013) (“It is well established that the Double Jeopardy

 clause does not prohibit simultaneous prosecutions for the same

 offense;       it     prohibits             duplicative     punishment. Accordingly,

 multiplicity is properly addressed by the trial court at the

 sentencing      stage.      At       that    time,   the   district    court     would    be

 required to vacate one of the two convictions. . . .                           This Court

 will   not    engage       in    a    multiplicity     inquiry    at    this    time.    In

 accordance with Second Circuit precedent, any such issues may be

 raised post-trial.”) (internal citations omitted).



                                                 51
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 52 of 71 PageID #: 1274



          D. Motion to Dismiss Count Nineteen of the S-2 Indictment
             on Duplicity Grounds

               “An indictment is impermissibly duplicitous where: 1) it

 combines      two     or   more    distinct      crimes    into   one   count   in

 contravention of Fed. R. Crim. P. 8(a)’s requirement that there be

 ‘a separate count for each offense,’ and 2) the defendant is

 prejudiced thereby.”         United States v. Sturdivant, 244 F.3d 71, 75

 (2d Cir. 2001) (citing United States v. Murray, 618 F.2d 892, 896

 (2d Cir. 1980)).           Whether a defendant has been prejudiced by a

 duplicitous         indictment     is   guided     by     the   following   policy

 considerations:

               [A]voiding the uncertainty of whether a
               general verdict of guilty conceals a finding
               of guilty as to one crime and a finding of not
               guilty as to another, avoiding the risk that
               the jurors may not have been unanimous as to
               any one of the crimes charged, assuring the
               defendant adequate notice, providing the basis
               for appropriate sentencing, and protecting
               against   double    jeopardy   in   subsequent
               prosecutions.
 (Id. (quoting United States v. Margiotta, 646 F.2d 729, 733 (2d

 Cir. 1981)).         However, “the government is permitted to aggregate

 offenses involving discrete sums of money . . . where a series of

 unlawful acts ‘were part of a single continuing scheme.’”                   United

 States v. Wilson, No. 95-CR-0668, 1997 WL 10035, at *3 (S.D.N.Y.

 Jan. 10, 1997) (quoting United States v. Girard, 601 F.2d 69, 72

 (2d    Cir.    1979));       see    also    United      States    v.    Rodrigues,

 No. 22-CR-0391, 2024 WL 113744, at *4 (S.D.N.Y. Jan. 10, 2024)

                                            52
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 53 of 71 PageID #: 1275



 (denying defendant’s motion to dismiss § 641 count as duplicitous

 where said count grouped multiple sales under a single count since

 “[t]he Second Circuit addressed this question” in Girard, and held

 it was not an abuse of discretion for the district court to permit

 such pleading).

               Count Nineteen charges Defendant with Theft of Public

 Money    in   violation   of    18   U.S.C.    § 641,   through   his    alleged

 fraudulent application for and receipt of unemployment benefits.

 The S-2 Indictment provides:

               In or about and between June 2020 and April
               2021, both dates being approximate and
               inclusive, within the Eastern District of New
               York and elsewhere, the defendant . . . did
               knowingly, willfully, and without lawful
               authority embezzle, steal, purloin and convert
               to his own use money and things of value of
               the United States and a department and agency
               thereof, to wit: money of the United States
               Department of the Treasury, the aggregate
               value of which exceeded $1,000.
 (S-2 Indictment ¶ 92.)         Count Nineteen realleges and incorporates

 “paragraphs one through 65.”          (Id. ¶ 91.)

               Defendant asserts that by realleging and incorporating

 paragraphs one through 65, including paragraph 59 “which appears

 to    include   a   separate   charge   that    includes   conduct      during   a

 different, albeit       overlapping timeframe”, 14 Count          Nineteen “is



 14   Paragraph 59 of the S-2 Indictment reads:


                                         53
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 54 of 71 PageID #: 1276



 duplicitous because it charges two separate schemes and multiple

 transactions within the same count.”               (Support Memo at 28-29.)

 Defendant    elaborates,     Count   Nineteen      “‘combines   two   or   more

 distinct crimes into one count’ because, taken as a whole, they

 allege one scheme that took place ‘between June 2020 and April

 2021’ and a separate scheme that occurred from ‘March 22, 2020

 through    April   15,   2021.’”     (Id.   at     29   (emphasis   omitted).)

 Defendant maintains he “is prejudiced because the distinctive time

 periods do not provide adequate notice as to which of the two

 schemes is charged in Count 19.”        (Id.)      Likewise, Defendant avers

 his prejudice is “compounded because Count 19 charges numerous

 individual isolated unidentified transactions over an unspecified

 period of time, as one scheme.”         (Id.) 15



             For the period of approximately March 22,
             2020, through April 15, 2021, based on a false
             application and false weekly certifications to
             the NYS DOL, the defendant . . . received
             approximately    $24,744    in    unemployment
             insurance benefits, which were deposited into
             Devolder Santos Bank Account #2. The benefits
             received by [Defendant] were fully funded by
             the United States and a department and agency,
             thereof, to wit: the United States Department
             of the Treasury.

 (S-2 Indictment ¶ 59.)

 15The “numerous individual transactions” to which Defendant refers
 are the “unspecified number of ‘weekly’ false certifications
 concerning his continuing eligibility for unemployment benefits.”
 (Support Memo at 29.) Santos highlights “Counts 20 and 21 (the
 other counts related to the purported unemployment scheme) each
 charge Santos with wire fraud based on two discrete instances in
                                       54
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 55 of 71 PageID #: 1277



              The    Government      counters,         Count     Nineteen      “is    not

 duplicitous because it charges a single continuing scheme” which

 is permissible under Second Circuit precedent.                       (Opp’n at 35.)

 The Government explains, “the Indictment alleges that Santos first

 applied for unemployment insurance benefits on June 17, 2020” and,

 in that application, Santos “claimed to have been unemployed since

 the   week   of    March   22,    2020.” 16         (Id.)      Thereafter,    the     S-2

 Indictment alleges Santos “certified his continuing unemployment

 and    eligibility     for       benefits       on    a     weekly   basis     between

 approximately      June    19,     2020,      and    April     15,   2021.”         (Id.)

 Consequently,        the     Government             contends      “the     Indictment

 appropriately identifies both the time period in which [Defendant]

 was certifying his eligibility for unemployment benefits, namely

 June 17, 2020 through April 15, 2021, and the time period that he

 claimed, in those certifications, to be unemployed, namely March

 22, 2020 through April 15, 2021.”               (Id. at 36.)




 which he received $564.00 on two separate dates from” NYS DOL,
 “which necessarily leads to the conclusion that there were numerous
 other instances in which Santos allegedly received the remaining
 $23,616.”   (Id.)   He maintains since “the jury could issue a
 conviction without actually agreeing on which specific conduct
 Santos committed”, he is prejudiced by Count Nineteen. (Id.)

 16 As a result of this claim, Defendant allegedly received
 retroactive unemployment benefits from this date forward. (Opp’n
 at 35-36.)


                                            55
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 56 of 71 PageID #: 1278



              Here,   as    Defendant         readily    concedes,     Second    Circuit

 precedent      establishes         that       the      aggregation      of     numerous

 transactions into a single count is permissible where a series of

 unlawful acts are part of a single continuing scheme.                    See Girard,

 601   F.2d   at   72;     see    also Rodrigues,         2024    WL   113744, at    *4.

 Defendant’s attempts            to distinguish         Girard are unpersuasive. 17

 Moreover, the Court agrees with the Government that: (1) the time

 period of the unemployment scheme is clearly detailed in the S-2

 Indictment; and (2) the numerous transactions complained of, which

 comprise the unemployment fraud scheme, “are identified in the

 Indictment’s prefatory language, which describes the application

 for unemployment insurance benefits submitted by Santos on June

 17,   2020,”   together         with   the    weekly    certifications       submitted

 thereafter “throughout the charged period.”                     (Opp’n at 36.)

              In view of the foregoing, Defendant’s motion to dismiss

 Count Nineteen as duplicitous is denied.




 17Likewise, to the extent the holding in Girard is inconsistent
 with the Central District of Illinois’ holding in United States v.
 Schock, No. 16-CR-30061, 2017 WL 4780614 (C.D. Ill. Oct. 23, 2017),
 upon which Santos relies, the Second Circuit’s holding in Girard
 controls.
                                              56
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 57 of 71 PageID #: 1279



          E. Motion to Compel a Bill of Particulars Pursuant to
             Rule 7(f)

             Defendant next moves for a bill of particulars pursuant

 to   Rule   7(f),   seeking    an    order     directing   the   Government   to

 identify: (1) the false statements pertaining to the Party Program

 Scheme   charged    in   Counts     Two   through   Eight;   (2)   the   alleged

 victims, dates, and amounts related to the Access Device Fraud and

 Aggravated Identity Theft charges in Counts Nine and Ten; and

 (3) the transactions and additional entities involved in Counts

 Nine through Ten.        The Court discusses each request in turn.

                  1. Applicable Legal Standard

             Rule 7(f) of the Federal Rules of Criminal Procedure

 permits a defendant to seek a bill of particulars to enable him to

 “prepare for trial, to prevent surprise, and to interpose a plea

 of double jeopardy should he be prosecuted a second time for the

 same offense.” United States v. Bortnovsky, 820 F.2d 572, 574 (2d

 Cir. 1987); United States v. Wilson, 493 F. Supp. 2d 364, 369

 (E.D.N.Y. 2006). “A bill of particulars is required only where the

 charges of the indictment are so general that they do not advise

 the defendant of the specific acts of which he is accused.” United

 States v. Chen, 378 F.3d 151, 163 (2d Cir. 2004) (quoting United

 States v. Walsh, 194 F.3d 37, 47 (2d Cir. 1999) (internal quotation

 marks omitted)). Thus, “[t]he applicable standard for whether a

 bill of particulars should issue is not whether the information


                                           57
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 58 of 71 PageID #: 1280



 sought    would    be    helpful     to    the    defense,    but      whether       it   is

 necessary.” United States v. Taylor, 17 F. Supp. 3d 162, 178

 (E.D.N.Y.     2014),      aff’d,     802    F.    App’x    604    (2d       Cir.    2020).

 Consequently,         “[c]ourts     routinely     deny    motions       for      bills    of

 particulars       where . . . the         charging    document         is    a   speaking

 indictment.”       United States v. Cordones, No. 11-CR-0205, 2022 WL

 815229, at *8 (S.D.N.Y. Mar. 17, 2022); United States v. Murphy,

 No. 21-CR-0280, 2022 WL 1270958, at *3 (S.D.N.Y. 2022) (same).

 The defendant bears the burden of showing “the information sought

 [in a bill of particulars] is necessary and that [the defendant]

 will   be    prejudiced        without     it.”    United     States        v.   Donovan,

 No. 20-CR-374, 2021 WL 5819915, at *4 (E.D.N.Y. Dec. 6, 2021)

 (quoting United States v. Fruchter, 104 F. Supp. 2d 289, 312

 (S.D.N.Y. 2000) (internal quotation marks omitted)).

             To determine whether a bill of particulars is warranted,

 courts may look “beyond the four corners of the indictment” and

 “determine    whether         the   information      sought      has    been       provided

 elsewhere, such as in other items provided by discovery, [and]

 responses made to requests for particulars.” United States v.

 Barrett, 153 F. Supp. 3d 552, 571 (E.D.N.Y. 2015) (citing United

 States v. Strawberry, 892 F. Supp. 519, 526 (S.D.N.Y. 1995)).

 Accordingly,      a    bill    of particulars        is   unnecessary where            “the

 indictment and/or pretrial discovery provide the defendant with

 sufficient information as to the nature of the charges.” United

                                            58
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 59 of 71 PageID #: 1281



 States v. Drivas, No. 10-CR-0771, 2012 WL 3011023, at *2 (E.D.N.Y.

 July 19, 2012) (citing Walsh, 194 F.3d at 47 (further citations

 omitted)).        “The    Government,     however,       does   not   fulfill    its

 obligations merely by providing mountains of documents to defense

 counsel who were left unguided as to the nature of the charges

 pending.” United States v. Wey, No. 15-CR-0611, 2017 WL 237651, at

 *18   (S.D.N.Y.    Jan.    18,   2017)   (citing       United   States    v.   Lino,

 No. 00-CR-0632,     2001    WL   8356,    at    *4    (S.D.N.Y.   Jan.    2,   2001)

 (further citations and quotation marks omitted)).

               The decision of whether to grant or deny a motion for a

 bill of particulars rests within the sound discretion of the

 district court and is reviewed only for abuse of discretion. United

 States v. Cephas, 937 F.2d 816, 823 (2d Cir. 1991); United States

 v. Ramirez, 609 F.3d 495, 502 (2d Cir. 2010); United States v.

 Barrera, 950 F. Supp. 2d 461, 477 (E.D.N.Y. 2013).


                   2. Identification of Allegedly False Statements
                      Related to Counts Two Through Eight of the S-2
                      Indictment

               Defendant’s first request “relates to the identification

 of falsehoods pertaining to the ‘Party Program Scheme’ charged in

 Counts 2-8.”      (Support Memo at 33.)              Defendant argues, “[w]hile

 the   [S-2]    Indictment    identifies        several    allegedly      fraudulent

 statements pertaining” to Counts Two through Eight, language in

 paragraphs 22, and 32, “indicates that the identified falsehoods


                                          59
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 60 of 71 PageID #: 1282



 are not exhaustive.”        (Id. at 34.)        Defendant avers, “[w]ithout

 identification of [these] statements” he cannot “properly prepare

 his defense.”      (Id. at 35.)     Defendant explains, “[t]he two FEC

 filings pertaining to Counts 2-8 . . . total more than 500 pages

 and   contain     more   than   1,000   different      statements    concerning

 Santos’ fundraising activities.”             (Id.)   Additionally, Defendant

 highlights “discovery in this case has exceeded 1.3 million pages

 of discovery material” necessitating the instant request.                 (Id.)

             The    Government’s    opposition        rests   upon   two   bases.

 First, the Government stresses that the speaking indictment in

 this case “goes well beyond merely tracking the language of the

 statute and stating the time and place in approximate terms”,

 which, as the Government states, “is all an indictment must do to

 satisfy the pleading standard of Federal Rule of Criminal Procedure

 7.”    (Opp’n at 41 (quotation marks and alterations omitted)).

 Second, the Government emphasizes, by Defendant’s own admission,

 that the “[S-2] Indictment adequately puts Santos on notice as to

 numerous specific false statements relevant to each count.”               (Id.)

 For example, the Government highlights:

             Counts Two and Three, . . . both identify the
             specific wires that constitute the basis for
             charges—namely,   the   submission    of   the
             “Year-End 2021 Report to the FEC referenced in
             paragraph 27” (Count Two) and the submission
             of the “April 2022 Quarterly Report to the FEC
             referenced in paragraph 38” (Count Three).
             Paragraph   27,  in   turn,   identifies   the
             specific, falsified contributions reported to

                                         60
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 61 of 71 PageID #: 1283



             the FEC, including details such as the amount
             reported,   the   date   of   the   purported
             contribution, and the identities of the
             putative contributors. Paragraph 38 likewise
             identifies the false representations in the
             April 2022 Quarterly Report, including the
             “false[] report[] that DEVOLDER SANTOS had
             loaned the Committee $500,000 on March 31,
             2022.”

             Counts Four and Five, . . . are similarly
             detailed and specific. Each of those counts
             enumerates   twelve    particularized  false
             statements, including such details as the
             dates the false statements were made, the
             title of the report in which they were made,
             and the recipient of the report.

             Count Six . . . specifically identifies the
             means of identification that were used without
             authority (names) and identifies each person
             whose name was improperly used.

             Count Seven . . . states that Santos caused
             the Committee to make the false statement to
             the FEC that Santos “had loaned the Committee
             $500,000 on March 31, 2022.”

             Count      Eight       . . . [l]ike       Count
             Seven, . . . identifies      the      falsified
             document as the April 2022 Quarterly Report
             that was submitted to the FEC on or about April
             15, 2022. It further describes the report as
             containing the false statement that Santos
             “had loaned the Committee $500,000 on March
             31, 2022,” when, “in truth and in fact, . . .
             [Santos] had not loaned the Committee $500,000
             on March 31, 2022.”

 (Opp’n at 41-42 (internal citations and footnote omitted).)

             Here, because the Court agrees with the Government that

 the information in the S-2 Indictment adequately informs Santos of

 the charges levied against him in Counts Two through Eight, and,


                                       61
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 62 of 71 PageID #: 1284



 since the speaking indictment sufficiently identifies the numerous

 alleged false statements pertinent to each count (see Opp’n at

 41-42), such that Defendant is able to prepare his defense, the

 Court finds no bill of particulars is required.              See United States

 v. Ferguson, 478 F. Supp. 2d 220, 226-37 (D. Conn. 2007) (denying

 request for bill of particulars seeking identification of false

 statements, notwithstanding voluminous nature of discovery, where,

 inter    alia,   “the   degree    of   detail     in   the   indictment”   was

 sufficiently     particular).    Indeed,    and   as aptly     argued by   the

 Government, “[a] bill of particulars should not be treated ‘as a

 general investigative tool for the defense, or as a device to

 compel disclosure of the Government’s evidence or its legal theory

 prior to trial’”      United States v. Sterritt, 678 F. Supp. 3d 317,

 327 (E.D.N.Y. 2023) (quoting United States v. Feola, 651 F. Supp.

 1068, 1123 (S.D.N.Y. 1987)); see also United States v. Tournant,

 No. 22-CR-0276, 2023 WL 8649893, at *4-5 (S.D.N.Y. Dec. 13, 2023)

 (denying motion for bill of particulars since, “[a]t this stage,

 the kind of granular particularization requested by [defendant]

 would be a detailed guide to the Government’s evidence, and would

 also force the Government to tip its hand as to its strategy.”). 18


 18As to Santos’ request for a bill of particulars regarding Counts
 Nine and Ten, given the Government’s representation it has, out of
 an abundance of caution, “elected . . . to voluntarily provide
 under separate cover additional detail as to the specific,
 unauthorized transactions and attempted transactions initiated by
 Santos”, the Court finds this section of Santos’ motion moot.
                                        62
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 63 of 71 PageID #: 1285



           F. Motion to Compel       Production     and   Disclosure     Under
              Brady/Giglio

             Pursuant to Brady and its progeny, “the Government has

 a constitutional duty to disclose favorable evidence to the accused

 where     such   evidence   is   ‘material’    either    to   guilt   or   to

 punishment.”     United States v. Paulino, 445 F.3d 211, 224 (2d Cir.

 2006) (quoting United States v. Jackson, 345 F.3d 59, 70 (2d Cir.

 2003)).    “Favorable evidence includes not only evidence that tends

 to exculpate the accused, but also evidence that is useful to

 impeach the credibility of a government witness”, so called “Giglio

 material”.       Jackson, 345 F.3d at 70 (quoting United States v.

 Coppa, 267 F.3d 132, 139 (2d Cir. 2001)).            It is a well-settled

 rule of law “that the government need not immediately disclose

 Brady or Giglio material simply upon request by the defendant.”

 United States v. Barret, 824 F. Supp. 2d 419, 455 (E.D.N.Y. 2011)

 (citing Coppa, 267 F.3d at 146).           Instead, “the government must

 disclose all Brady and Giglio material ‘in time for its effective

 use at trial.’”      Id.; see also Coppa, 267 F.3d at 142 (“Like the

 extent of the required disclosure, the timing of a disclosure

 required by Brady is also dependent upon the anticipated remedy

 for a violation of the obligation to disclose: the prosecutor must

 disclose ‘material’ (in the Agurs/Brady sense) exculpatory and



 Moreover, the Court notes Santos does not dispute the Government’s
 characterization of this section of his motion. (See Reply, in
 toto.)
                                       63
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 64 of 71 PageID #: 1286



 impeachment      information    no   later    than   the   point   at   which    a

 reasonable probability will exist that the outcome would have been

 different if an earlier disclosure had been made. Thus, we have

 never interpreted due process of law as requiring more than that

 Brady material must be disclosed in time for its effective use at

 trial.”); Leka v. Portuondo, 257 F.3d 89, 100 (2d Cir. 2001) (“It

 is not feasible or desirable to specify the extent or timing of

 disclosure Brady and its progeny require, except in terms of the

 sufficiency, under the circumstances, of the defense’s opportunity

 to use the evidence when disclosure is made. Thus disclosure prior

 to trial is not mandated.”).

             Here, Defendant asserts the Government has, thus far,

 provided “two Brady disclosures, which together identified at

 least three witnesses that provided information to the government

 that is [allegedly] exculpatory” and/or can be characterized as

 Giglio    material.      (Support    Memo     at   42.)    Defendant    argues,

 notwithstanding the Government has provided summaries of the sum

 and substance of what these three witnesses told the Government,

 such disclosure is insufficient.              Defendant contends, to make

 effective use of that information prior to trial, production “of

 the underlying notes/memos [and] [FD]302s” is required.                 (Id. at

 46.)

             As   an   initial   matter,      the   Government   emphasizes      it

 “understands its various discovery obligations under Brady, Giglio

                                        64
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 65 of 71 PageID #: 1287



 and their progeny”, it “has complied with those obligations”, and

 “will continue to do so.”         (Opp’n at 48.)       Notwithstanding its

 previous disclosure of the at-issue witness statements, however,

 the    Government    disputes     Santos’     characterization      of   these

 statements as “exculpatory.”         (Id.)     Regardless, the Government

 contends Santos’ request for disclosure of Brady material is moot

 since summaries of the witnesses statements, “excerpted from the

 underlying FD-302s, were already provided to Santos months ago.”

 (Id. at 50.)        Furthermore, the Government maintains “many of

 Santos’ arguments regarding the FD-302s and notes sound in Giglio

 and his preparation to impeach potential government witnesses.”

 (Id. at 51.) This is important, the Government avers, since Second

 Circuit law clearly establishes there is no pre-trial right to

 Giglio material.      (Id.)    The Government reemphasizes it is aware

 of its obligations under Giglio and represents “it will adhere to

 the customary practice in this district and produce Giglio material

 prior to the testimony of its witnesses.”           (Id. (internal citation

 omitted).)

             Regarding    Defendant’s       Brady   request,   the   Court   is

 satisfied by the Government’s representations that it understands,

 has complied with, and will continue to comply with, its Brady

 obligations.     The Court is unconvinced by Defendant’s attempts to

 otherwise discredit those representations.            See United States v.

 Mohamed, 148 F. Supp. 3d 232, 246 (E.D.N.Y. 2015) (“Courts in the

                                       65
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 66 of 71 PageID #: 1288



 Second Circuit generally do not compel immediate disclosure of

 Brady/Giglio materials where (1) the Government represents it is

 aware of and will comply with its Brady/Giglio obligations, and

 (2) the Defense does not provide any reason for suspecting the

 Government will not comply”) (collecting cases); see also United

 States   v.    Murgio,      209   F.    Supp.   3d   698,   726    (S.D.N.Y.    2016)

 (declining to order early disclosure of Brady/Giglio material

 where “[t]he Government acknowledge[d] its obligations under Brady

 and Giglio in its opposition brief, and it pledge[d] to provide

 such materials in a timely manner.”).                Indeed, Santos has been in

 possession          of    the     summarized     witness      statements        since

 approximately March 14, 2024 (see Support Memo at 8, 42-44).                      The

 trial in this case is scheduled to begin on September 9, 2024.

 Six months is more than sufficient time for Defendant to make use

 of the witness statements in advance of trial.                    See United States

 v. Mavashev, No. 08-CR-0902, 2010 WL 670083, at *2-3 (E.D.N.Y.

 Feb.   23,    2010)       (finding,     where   “the    government     has   already

 disclosed to defendant—months before the start of trial—” the

 identity      of    potentially     exculpatory       witnesses,     together    with

 descriptions         of   “the    nature   of   the    exculpatory      information

 possessed      by    each    of   these    witnesses”,      such    disclosure    was

 sufficient under Brady).               Likewise, the Court finds, consistent

 with the findings of other courts in this Circuit, that the witness

 statements the Government has provided, which were summarized from

                                            66
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 67 of 71 PageID #: 1289



 the underlying FD-302s, are sufficient under Brady. 19             See United

 States v. Collins, 409 F. Supp. 3d 228, 244-45 (S.D.N.Y. 2019)

 (“Defendants do not cite case law that supports their argument

 that   the   Government    is required      to   produce primary    materials

 containing     exculpatory     statements . . . to       meet     its    Brady

 obligation. This is not surprising because such disclosure is not

 legally required; rather, in order to meet its Brady obligation

 the Government need only disclose ‘the essential facts which would

 enable [the defendants] to call the witness[es] and thus take

 advantage     of   any    exculpatory      testimony   that     [they]   might


 19 Santos contends his request “for production of the underlying
 notes/memos [and] 302s does not go unsupported by the law”.
 (Support Memo at 46-47 (citing United States v. Triumph Capital
 Group, Inc., 544 F.3d 149, 161 (2d Cir. 2008)).)       However, in
 Triumph, the Second Circuit did not hold that the government failed
 to comply with its Brady obligations by withholding an FBI agents
 proffer notes; instead, the Second Circuit found a Brady violation
 where the contents of the undisclosed FBI proffer notes were
 materially different from the contents of said witness’s
 statements in a disclosed interview report, and at trial. Triumph,
 544 F.3d at 161-62. The Second Circuit highlighted, “[t]he proffer
 notes support[ed] an alternative version” of a conversation about
 finder’s fees which was “entirely at odds with the government’s
 theory of the case”, was “directly relevant to the intent element
 of the consulting contract bribe charges”, and which defendant
 “could have used . . . not merely to support his version of
 [events] . . . but also to impeach [the witness’s] credibility”.
 Id. at 162.

 Here, the Government represents it has provided accurate summaries
 of the pertinent witness statements from the FD-302s, and,
 moreover, that it understands its obligations under Rule 16, Brady,
 Giglio, and 18 U.S.C. § 3500, and will comply with them “including
 by preserving and producing all such materials to the defense at
 the appropriate time.” (Opp’n at 53-54.) Consequently, Santos’
 cited case law is inapposite.
                                       67
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 68 of 71 PageID #: 1290



 furnish.’” (quoting United States v. Stewart, 513 F.2d 957, 960

 (2d Cir. 1975))); see also Mavashev, 2010 WL 670083, at *2-3.

             Regarding Defendant’s request for an order compelling

 disclosure of Giglio material, such request must be denied since

 “there is no pretrial right” to such materials.              See United States

 v. Inniss, No. 18-CR-0134, 2019 WL 6117987, at *3 (E.D.N.Y. Nov.

 18, 2019); see also United States v. Shkreli, No. 15-CR-0637, 2016

 WL 8711065, at *3 (“There is no pre-trial right to Giglio material,

 which specifically concerns impeachments. Nor is there a pre-trial

 right to statements and reports of witnesses in the Government’s

 possession.”).     Based upon the Government’s representation that it

 “intends to produce any additional Giglio material regarding its

 trial witnesses at the time it produces its Jencks Act material”,

 which is customary in this District, the Court, in its discretion,

 denies Defendant’s       motion    for    immediate    disclosure      of   Giglio

 material    at    this   time.      Accord       United   States      v.    Saliba,

 No. 08-CR-0792, 2010 WL 680986, at *4 (E.D.N.Y. Feb. 24, 2010)

 (denying request for immediate disclosure of Giglio material where

 trial was more than one month away and the Government represented

 “it will disclose Giglio material ‘shortly before trial in keeping

 with   standard    practice   in    the       District’”);   United    States    v.

 Persing, No. 06-CR-0815, 2008 WL 11344620, at *4 (E.D.N.Y. May 6,

 2008) (“The government has agreed to adhere to the customary



                                          68
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 69 of 71 PageID #: 1291



 practice in this district and produce Giglio material prior to the

 testimony of its witnesses. That is sufficient.”). 20

          G. Motion to Strike Prejudicial Surplusage from the S-2
             Indictment Pursuant to Rule 7(d)

             Finally,    Defendant   moves   pursuant    to   Rule   7(d)   “to

 strike    prejudicial     and   irrelevant     language”     from   the    S-2

 Indictment.

             However, the Parties agree that “[t]o the extent the

 Court does not plan to present the Indictment to the jury at trial,

 Santos’s motion to strike surplusage can be denied as moot.”

 (Opp’n at 55 n.17.; see also Reply at 5 n.1.)           The Court confirms

 it does not intend to provide the jury with a copy of the S-2

 Indictment to refer to during their deliberations; Defendant’s

 motion to strike is therefore denied as moot. Accord United States

 v. Adelglass, No. 20-CR-0605, 2022 WL 6763791, at *5 (S.D.N.Y.

 Oct. 11, 2022) (“[T]his Court’s uniform policy is never to present

 an indictment to the jury, and so . . . this motion is denied as


 20 Relatedly, Defendant also sought an order directing the
 Government to “preserve the rough notes and other evidence taken
 by law enforcement agents during their interviews with all
 witnesses.” (Support Memo at 50.) Based upon the Government’s
 representations that: (1) it “understands that all rough notes
 have been, or are in the process of being, incorporated into
 official reports”; and (2) “consistent with its usual practice” it
 has “already directed law enforcement agents to preserve all rough
 notes of its interviews of witnesses and related evidence” (Opp’n
 at 54), the Court denies Defendant’s motion to preserve as moot.
 See, e.g., United States v. Guevara, No. 99-CR-0445, 1999 WL
 639720, at *3 (S.D.N.Y. Aug. 23, 1999); United States v. Brown,
 627 F. Supp. 3d 206, 241 (E.D.N.Y. 2022).
                                       69
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 70 of 71 PageID #: 1292



 moot”); United States v. Doyle, No. 16-CR-0506, 2018 WL 1902506,

 at    *6   (S.D.N.Y.     Apr. 19,    2018)    (characterizing as     “academic”

 defendants’ motion to strike surplusage from the indictment where

 the court “does not typically read portions of the indictment to

 the jurors at trial.”).



                                     CONCLUSION 21

              For   the    stated    reasons,    IT   IS   HEREBY   ORDERED   that

 Defendant’s Omnibus Motion (ECF No. 71) is DENIED IN ITS ENTIRERY.

 Specifically:

      1. Defendant’s Motion to Dismiss the aggravated identity theft

        charges (Count Six and Ten) of the S-2 Indictment for failure

        to state a claim is DENIED;

      2. Defendant’s Motion to Dismiss the aggravated identity theft

        charges (Count Six and Ten) of the S-2 Indictment because 18

        U.S.C. § 1028A is unconstitutionally vague on its face is

        DENIED;

      3. Defendant’s Motion to Dismiss the aggravated identity theft

        charges (Counts Six and Ten) of the S-2 Indictment because 18

        U.S.C. § 1028A is unconstitutionally vague as applied to his

        case is DENIED WITHOUT PREJUDICE;



 21To the extent not explicitly addressed, the Court has considered
 the remainder of Defendant’s arguments and finds them to be without
 merit.
                                          70
Case 2:23-cr-00197-JS-AYS Document 91 Filed 07/19/24 Page 71 of 71 PageID #: 1293



    4. Defendant’s     Motion   to    Dismiss   Count   Ten   on   grounds    of

       multiplicity is DENIED WITHOUT PREJUDICE;

    5. Defendant’s    Motion    to    Dismiss   Count Nineteen     of the    S-2

       Indictment on grounds of duplicity is DENIED;

    6. Defendant’s Motion for an order compelling the Government to

       provide a bill of particulars, to the extent such request was

       not mooted by the Government’s voluntary disclosures, is

       DENIED;

    7. Defendant’s Motion for an order compelling the Government to

       provide Brady/Giglio material is DENIED;

    8. Defendant’s     Motion    to    strike   surplusage    from   the     S-2

       Indictment is DENIED AS MOOT;

    9. Defendant’s Motion for an order compelling the Government to

       preserve is DENIED AS MOOT; and

    10. Defendant’s Motion for an order permitting the defense to

       supplement his various motions to dismiss is DENIED.




                                             SO ORDERED.


                                             /s/ JOANNA SEYBERT
                                             Joanna Seybert, U.S.D.J.

 Dated: July 19, 2024
        Central Islip, New York




                                        71
